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 Fill in this information to identify the case
 Debtor name          Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          20-60023                                                                                       Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                               12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
            No. Go to Part 2.
            Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                        Current value of
                                                                                                                             debtor's interest

2.     Cash on hand                                                                                                                        $500.00

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    See detailed information regarding Debtor's
        Bank Accounts attached hereto as Exhibit 1,
        and incorporated herein for all purposes.                                                                                    $1,172,063.30
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
                                                                                                                                     $1,172,563.30
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
           Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                          page 1
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Debtor         Don Krueger Construction Co.                                                 Case number (if known)      20-60023
               Name

                                                                                                                                  Current value of
                                                                                                                                  debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

8.1.    Automobile Insurance paid to Progressive Insurance. (Paid as refund to Trustee after
        Bankruptcy filing)                                                                                                                   $2,914.00
9.     Total of Part 2.
                                                                                                                                             $2,914.00
       Add lines 7 through 8. Copy the total to line 81.

 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

           No. Go to Part 4.
           Yes. Fill in the information below.
                                                                                                                                  Current value of
                                    (*See detailed information regarding Debtor's Accounts Receivable attached hereto             debtor's interest
11. Accounts receivable*            as Exhibit 2, and incorporated herein for all purposes)

11a. 90 days old or less:             $18,340.55             –                 $0.00                  = .......................             $18,340.55
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:              $7,602,487.21            –             $300,000.00                = .......................         $7,302,487.21
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                        $7,320,827.76


 Part 4: Investments

13. Does the debtor own any investments?

           No. Go to Part 5.
           Yes. Fill in the information below.
                                                                                             Valuation method                     Current value of
                                                                                             used for current value               debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

          Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

      Name of entity:                                          % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

       Describe:
17. Total of Part 4
                                                                                                                                                  $0.00
    Add lines 14 through 16. Copy the total to line 83.

 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                                   page 2
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Debtor       Don Krueger Construction Co.                                              Case number (if known)    20-60023
             Name

     General description                         Date of the       Net book value of    Valuation method              Current value of
                                                 last physical     debtor's interest    used for current value        debtor's interest
                                                 inventory         (Where available)
19. Raw materials                                MM/DD/YYYY

     Building Materials                                                                 Market                                   $3,500.00
20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

     Electrical and Construction
     Supplies                                                              $240,000.00 Market                                 $123,500.00
23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                              $127,000.00

24. Is any of the property listed in Part 5 perishable?
        No
        Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
       No
       Yes

 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

         No. Go to Part 7.
         Yes. Fill in the information below.

     General description                                           Net book value of    Valuation method              Current value of
                                                                   debtor's interest    used for current value        debtor's interest
                                                                   (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                      $0.00

34. Is the debtor a member of an agricultural cooperative?
         No
         Yes. Is any of the debtor's property stored at the cooperative?
                   No
                   Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
       No
       Yes. Book value                            Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
         No
         Yes




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                         page 3
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Debtor       Don Krueger Construction Co.                                               Case number (if known)    20-60023
             Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
       No
       Yes

 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         No. Go to Part 8.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

     See items in detailed list of Debtor attached
     hereto as Exhibit 3, and incorporated herein for
     all purposes.                                                                       Market                                  $12,000.00
40. Office fixtures

     See items in detailed list of Debtor attached
     hereto as Exhibit 3, and incorporated herein for
     all purposes.                                                                       Market                                   $5,000.00
41. Office equipment, including all computer equipment and
    communication systems equipment and software

     See items in detailed list of Debtor attached
     hereto as Exhibit 3, and incorporated herein for
     all purposes.                                                                       Market                                  $24,000.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
                                                                                                                                 $41,000.00
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?
         No
         Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
       No
       Yes

 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. See Debtor's detailed list attached hereto as
      Exhibit 4 (shaded portion), and incorporated
      herein for all purposes.                                                           Blue Book                             $186,750.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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Debtor       Don Krueger Construction Co.                                             Case number (if known)   20-60023
             Name

48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

      See Debtor's detailed list attached hereto as
      Exhibit 4 (unshaded portion) and Exhibit 5, and
      incorporated herein for all purposes.                                             Market                              $502,275.00
51. Total of Part 8.
                                                                                                                            $689,025.00
    Add lines 47 through 50. Copy the total to line 87.

52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
       No
       Yes

 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.

55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent      Net book value of    Valuation method   Current value of
       Include street address or other description   of debtor's interest   debtor's interest    used for current   debtor's interest
       such as Assessor Parcel Number (APN),         in property            (Where available)    value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 1508 N Ben Jordan
       Improved Lot
       Gulf Coast Ind Park 1 W 1/2 of Lot 6
       Block 3, Victoria, Victoria County,
       Texas                                         Fee Simple                                  CAD                          $65,560.00
55.2. 100 Profit
       Unimproved Lot
       Gulf Coast Ind Park 1 Lot 1 Block 3,
       Victoria, Victoria County, Texas              Fee Simple                                  CAD                           $9,230.00

55.3. 205 Profit
       Office Building and Lot
       Gulf Coast Ind Park 1 Lot 2 & Lot 3
       Block 3, Victoria, Victoria County,
       Texas                                         Fee Simple                                  CAD                        $605,620.00
55.4. Wildwood
       Improved Lot
       Gulf Coast Ind Park 1 Lot 5 Block 3,
       Victoria, Victoria County, Texas              Fee Simple                                  CAD                          $11,160.00
55.5. 1508 N Ben Jordan
       Improved Lot
       Gulf Coast Ind Park 1 E 1/2 of Lot 6
       Block 3, Victoria, Victoria County,
       Texas                                         Fee Simple                                  CAD                          $20,740.00



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                       page 5
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Debtor       Don Krueger Construction Co.                                                Case number (if known)     20-60023
             Name

55.6. 1510 N Ben Jordan
      Improved Lot
      Gulf Coast Ind Park 1 Lot 7 Block 3,
      Victoria, Victoria County, Texas                Fee Simple                                   CAD                              $35,340.00

55.7. 201 Profit
      Unimproved Lot
      Gulf Coast Ind Park 1 E 160' of Lot 4
      Block 3, Victoria, Victoria County,
      Texas                                           Fee Simple                                   CAD                               $4,000.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                  $751,650.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       No
       Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method               Current value of
                                                                   debtor's interest       used for current value         debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
       No
       Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes

69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
       No
       Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

         No. Go to Part 12.
         Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
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Debtor       Don Krueger Construction Co.                                              Case number (if known)   20-60023
             Name

                                                                                                                     Current value of
                                                                                                                     debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     Federal Tax Credit                                                                         Tax year   2015                $51,905.00
73. Interests in insurance policies or annuities

     Property Insurance - Century Surety Company (Towerstone) - 205 Profit, Victoria, Texas 77901                                    $0.00
     Builders Risk Policy for Lampasas Jail through Frost Insurance.                                                                 $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

     Insurance claim against CNA Insurance.                                                                                    $15,210.38
     Nature of claim             Damage to Truck
     Amount requested            $15,210.38

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

     Claim against Consolidated Electrical Distributors, Inc. for wire and other supplies held in its
     warehouse owned by KGS Electrical.                                                                                         Unknown
     Nature of claim             Conversion
     Amount requested            $29,521.00

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Texas Mutual Insurance (Workers Compensation Dividend). (Paid to Trustee after Bankruptcy
     filing)                                                                                                                    $8,062.52
78. Total of Part 11.
                                                                                                                               $75,177.90
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
       No
       Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                       page 7
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Debtor           Don Krueger Construction Co.                                                                        Case number (if known)         20-60023
                 Name


 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                              Current value of                             Current value of
                                                                                    personal property                            real property


80. Cash, cash equivalents, and financial assets.                                       $1,172,563.30
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                             $2,914.00

82. Accounts receivable. Copy line 12, Part 3.                                          $7,320,827.76

83. Investments. Copy line 17, Part 4.                                                               $0.00

84. Inventory. Copy line 23, Part 5.                                                       $127,000.00

85. Farming and fishing-related assets.                                                              $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                               $41,000.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                    $689,025.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9.......................................................................................        $751,650.00

89. Intangibles and intellectual property.                                                           $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                      +          $75,177.90

91. Total. Add lines 80 through 90 for each column.                        91a.         $9,428,507.96            +     91b.           $751,650.00


                                                                                                                                                              $10,180,157.96
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.........................................................................................................




Official Form 206A/B                                        Schedule A/B: Assets -- Real and Personal Property                                                       page 8
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 Fill in this information to identify the case:
 Debtor name          Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number          20-60023                                                                                     Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                                No
                                                                Yes
          Creditor's email address, if known
                                                           Is anyone else liable on this claim?
          Date debt was incurred                               No
                                                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          Last 4 digits of account
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                   Contingent
              No                                               Unliquidated
              Yes. Specify each creditor, including this       Disputed
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
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 Fill in this information to identify the case:
 Debtor              Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         20-60023                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?
                                                                     No
Last 4 digits of account                                             Yes
number
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
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Debtor        Don Krueger Construction Co.                                             Case number (if known)      20-60023

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $30,646.25
                                                                   Check all that apply.
461 HOLDINGS, LLC                                                      Contingent
dba 461 ECO-CLEAN                                                      Unliquidated
                                                                       Disputed
3314 CORYELL COVE
                                                                   Basis for the claim:
SAN ANTONIO                              TX       78253            Collection Account

Date or dates debt was incurred         2019                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $147,213.30
                                                                   Check all that apply.
4MC ENTERPRISES INC.                                                   Contingent
PO BOX 109                                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
RED ROCK                                 TX       78662            Collection Account

Date or dates debt was incurred         2018                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes


     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $8,002.85
                                                                   Check all that apply.
A&S UNDERGROUND LLC                                                    Contingent
PO BOX 236                                                             Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
COPPERAS COVE                            TX       76522            Collection Account

Date or dates debt was incurred         2018                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes
Retainage Only

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $12,832.80
                                                                   Check all that apply.
A. BARGAS & ASSOCIATES LLC                                             Contingent
PO BOX 792056                                                          Unliquidated
                                                                       Disputed

                                                                   Basis for the claim:
SAN ANTONIO                              TX       78279-2056       Collection Account

Date or dates debt was incurred         2018                       Is the claim subject to offset?
                                                                        No
Last 4 digits of account number                                         Yes
Retainage Only




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,630.00
                                                                Check all that apply.
A.Z. REBAR CONSTRUCTION INC                                         Contingent
5627 HOLLY RD.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78412           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes
Retainage Only

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $119,477.13
                                                                Check all that apply.
A/C TECHNICAL SERVICES LLC                                          Contingent
PO BOX 1535                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CASTROVILLE                            TX       78009           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $25,637.51
                                                                Check all that apply.
AC DISTRIBUTION INC.                                                Contingent
dba AIR PRO MECHANICAL                                              Unliquidated
                                                                    Disputed
5638 BEAR LANE
                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78405           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $345.88
                                                                Check all that apply.
ACCURATE PAVEMENT STRIPING                                          Contingent
C/O SOUTHSTAR FINANCIAL, LLC                                        Unliquidated
                                                                    Disputed
PO BOX 2323
                                                                Basis for the claim:
MT PLEASANT                            SC       29465           Collection Account

Date or dates debt was incurred      7/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3
                Case 20-60023 Document 29 Filed in TXSB on 05/07/20 Page 13 of 180


Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $26,525.00
                                                                Check all that apply.
ACE FABRICATORS, INC.                                               Contingent
7010 FURAY ROAD                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77016           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,735.40
                                                                Check all that apply.
ADS MARTIN LLC                                                      Contingent
PO BOX 247                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GEORGETOWN                             TX       78627           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,290.68
                                                                Check all that apply.
ADVANCED COMMUNICATIONS & CABLING INC.                              Contingent
PO BOX 697                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78293-0697      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $49,210.75
                                                                Check all that apply.
ADVANCED DRYWALL SYSTEMS INC.                                       Contingent
12900 TRAILS END ROAD                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LEANDER                                TX       78641           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,907.55
                                                                Check all that apply.
ADVANCED PUMPING, LLC                                               Contingent
PO BOX 10423                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78460           Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,786.80
                                                                Check all that apply.
AIR COMMUNICATIONS CO. INC.                                         Contingent
11376 PAT GEORGE BLVD.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CONROE                                 TX       77303-5466      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $29,125.00
                                                                Check all that apply.
AIR TECHNOLOGIES INC.                                               Contingent
PO BOX 129                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MANCHACA                               TX       78652           Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $387.50
                                                                Check all that apply.
AIRGAS USA, LLC                                                     Contingent
PO BOX 734671                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75373-4671      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     2    0   7               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,175.00
                                                                Check all that apply.
ALAMO DOOR SYSTEMS OF TEXAS INC.                                    Contingent
16358 NACOGDOCHES ROAD                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78247           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,889.14
                                                                Check all that apply.
ALAMO LUMBER COMPANY                                                Contingent
PO BOX 17258                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     7    1   4               Yes


  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,644.13
                                                                Check all that apply.
ALAZAN BUILDERS LP                                                  Contingent
PO BOX 3922                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78463           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,160.00
                                                                Check all that apply.
ALLIANCE SPECIALIZED SYSTEMS                                        Contingent
602 N McCOLL RD.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MCALLEN                                TX       78501           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $165,384.05
                                                                Check all that apply.
AMBROSE CONSTRUCTION LTD.                                           Contingent
518 S ENTERPRISE PKWY, SUITE B                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78405           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,129.00
                                                                Check all that apply.
AMERICAN ABATEMENT                                                  Contingent
1315 WEST BLANCO                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78232           Collection Account

Date or dates debt was incurred      9/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
AMERICAN ALL STAR GYMNASTICS                                        Contingent
7150 NORTH I35                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
NEW BRAUNFELS                          TX       78130           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $274,657.95
                                                                Check all that apply.
AMERICAN EXPRESS                                                    Contingent
PO BOX 650448                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75265-0448      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    0   5               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $96,019.00
                                                                Check all that apply.
AMERICAN INTERIORS, INC.                                            Contingent
12910 FLAGSHIP                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78247           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,349.00
                                                                Check all that apply.
AMES BONNER CONTRUCTION                                             Contingent
JAMES BONNER                                                        Unliquidated
                                                                    Disputed
1823 NAEGELEN ROAD
                                                                Basis for the claim:
LYTLE                                  TX       78052           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $18,340.16
                                                                Check all that apply.
AQUATECH WATERPROOFING                                              Contingent
1810 NORTH CR 122                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ROUND ROCK                             TX       78665           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
ARANSAS PASS ISD                                                    Contingent
430 S EIGHTH ST                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ARANSAS PASS                           TX       78336           Collection Account

Date or dates debt was incurred      2017-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $85.46
                                                                Check all that apply.
ARCASE INC.                                                         Contingent
1007 W ASHBY PLACE                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78212           Collection Account

Date or dates debt was incurred      03/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $55,413.86
                                                                Check all that apply.
ARCHITECTURAL DVISION 8                                             Contingent
2425 BROCKTON, SUITE 101                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,423.32
                                                                Check all that apply.
ARGOSY FLOOR COVERING, LLC                                          Contingent
6831 BREEDEN                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78216           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,259.54
                                                                Check all that apply.
ASTON MARBLE & GRANITE LLC                                          Contingent
3625 S PORT                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78415           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,847.56
                                                                Check all that apply.
AT&T MOBILITY LLC                                                   Contingent
PO BOX 6463                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CAROL STREAM                           IL       60197-6463      Collection Account

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     7    1   1               Yes


  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $217.94
                                                                Check all that apply.
AT&T U-VERSE                                                        Contingent
PO BOX 5014                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CAROL STREAM                           IL       60197           Collection Account

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     4    8   4               Yes


  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $95,368.00
                                                                Check all that apply.
AUSTIN COATINGS INC                                                 Contingent
PO BOX 140765                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78714-0765      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
AUSTWELL TIVOLI ISD                                                 Contingent
207 REDFISH ST                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
TIVOLI                                 TX       77900           Collection Account

Date or dates debt was incurred      2016-0219                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $171,618.72
                                                                Check all that apply.
AVADEK                                                              Contingent
dba of Luebe-Jones Inc.                                             Unliquidated
                                                                    Disputed
12130 GALVESTON RD, BLDG 1
                                                                Basis for the claim:
WEBSTER                                TX       77598           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $100,175.00
                                                                Check all that apply.
BBA ARCHITECTS L.P.                                                 Contingent
1702 SOUTH MARKET STREET                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BRENHAM                                TX       77833           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,656.74
                                                                Check all that apply.
BD HOLT CO                                                          Contingent
dba HOLT CAT                                                        Unliquidated
                                                                    Disputed
PO BOX 650345
                                                                Basis for the claim:
DALLAS                                 TX       75265-0345      Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     0    2   0               Yes


  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,727.71
                                                                Check all that apply.
BEASLEY TIRE SERVICE HOUSTON                                        Contingent
11802 EASTEX FREEWAY                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77039           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     1    8   8               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $68,486.93
                                                                Check all that apply.
BECKWITH ELECTRONIC ENGINEERING CO.                                 Contingent
5050 BECKWITH BLVD.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78249           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,893.40
                                                                Check all that apply.
BELDON ROOFING COMPANY                                              Contingent
5039 WEST AVE                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78213           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,891.33
                                                                Check all that apply.
BELL COUNTY GLASS COMPANY INC.                                      Contingent
PO BOX 2468                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HARKER HEIGHTS                         TX       76548           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $502,791.43
                                                                Check all that apply.
BIG STATE ELECTRIC LTD                                              Contingent
8923 AERO STREET                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.45     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
BILL & KELLY VON GONTEN                                             Contingent
11740 DUART DR                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77024           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.46     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,502.37
                                                                Check all that apply.
BINSWANGER GLASS                                                    Contingent
4019 BRETT STREET                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78411           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     9    5   1               Yes


  3.47     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $41,503.00
                                                                Check all that apply.
BLUDAU FABRICATION                                                  Contingent
PO BOX 255                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HALLETTSVILLE                          TX       77964           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.48     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,677.44
                                                                Check all that apply.
BNR CONCRETE POLISHING LLC                                          Contingent
PO BOX 166858                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
IRVING                                 TX       75016-6858      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,630.51
                                                                Check all that apply.
BOND; JERRY                                                         Contingent
2375 MESQUITE PASS                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SEGUIN                                 TX       78155           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
BT CHURCH                                                           Contingent
2001 TRENTON RD                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MCALLEN                                TX       78504           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
CALVIN & CHERYL DEVRIES                                             Contingent
6649 SEACOMBER DR                                                   Unliquidated
                                                                    Disputed
UNIT 208
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,732.51
                                                                Check all that apply.
CAMACHO DEMOLITION LLC                                              Contingent
5113 AGNES ST.                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78405           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.53     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
CAMP CAMP                                                           Contingent
2525 LADD ST, BUILDING 3850                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78236           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.54     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $101,910.59
                                                                Check all that apply.
CARDENAS MASONRY INC.                                               Contingent
PO BOX 1328                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MCALLEN                                TX       78505-1328      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.55     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,314.65
                                                                Check all that apply.
CARRILLO'S CLEANING SERVICES                                        Contingent
7015 MILL STREAM                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78238           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.56     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $46,334.25
                                                                Check all that apply.
CARROLL SYSTEMS                                                     Contingent
4603 COMMERCIAL PARK DR.                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78724           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.57     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,000.00
                                                                Check all that apply.
CASTRO; JULIO                                                       Contingent
PO BOX 2083                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LYTLE                                  TX       78052           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.58     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $22,251.07
                                                                Check all that apply.
CEDAR PARK OVERHEAD DOORS                                           Contingent
1408 N BELL BLVD                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CEDAR PARK                             TX       78613           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.59     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,849.80
                                                                Check all that apply.
CEN-TEX MASONRY, INC.                                               Contingent
1965 ROCKRIDE LANE                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GEORGETOWN                             TX       78626           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.60     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $43,252.40
                                                                Check all that apply.
CENTRAL BACKHOE & UTILITIES, LTD                                    Contingent
10080 BRAUN ROAD                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78254           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.61     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,100.00
                                                                Check all that apply.
CHANEK, RON                                                         Contingent
dba CROSSROADS II                                                   Unliquidated
                                                                    Disputed
PO BOX 7024
                                                                Basis for the claim:
VICTORIA                               TX       77903           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.62     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,796.69
                                                                Check all that apply.
CHASE CARD SERVICES                                                 Contingent
PO BOX 94014                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PALATINE                               IL       60094-4014      Collection Account

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     4    5   2               Yes


  3.63     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,167.15
                                                                Check all that apply.
CHIEF FIRE SYSTEMS INC                                              Contingent
PO BOX 419                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PINEHURST                              TX       77362-0419      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.64     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $107,018.93
                                                                Check all that apply.
CHOATE USA                                                          Contingent
PO BOX 118114                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CARROLLTON                             TX       75011           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.65     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
CHRIS & SHANNON BUSH                                                Contingent
PO DRAWER 1007                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
REFUGIO                                TX       78377           Collection Account

Date or dates debt was incurred      2017-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.66     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $224.39
                                                                Check all that apply.
CINTAS CORPORATION NO. 2                                            Contingent
dba CINTAS FIRST AID                                                Unliquidated
                                                                    Disputed
PO BOX 631025
                                                                Basis for the claim:
CINCINNATI                             OH       45263-1025      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     8    1   1               Yes


  3.67     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $49,274.90
                                                                Check all that apply.
CIRCLE C MILLWORK INC.                                              Contingent
PO BOX 1119                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ADKINS                                 TX       78101           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.68     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,027.50
                                                                Check all that apply.
CLARIDGE PRODUCTS & EQUIPMENT INC.                                  Contingent
180 N SHERMAN AVE                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORONA                                 CA       92882           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,208.00
                                                                Check all that apply.
CNA INSURANCE                                                       Contingent
PO BOX 74007619                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHICAGO                                IL       60674-7619      Collection Account

Date or dates debt was incurred      3/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     9    1   1               Yes


  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,444.00
                                                                Check all that apply.
COASTAL A.D.S. INC.                                                 Contingent
PO BOX 9232                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78469-9232      Collection Account

Date or dates debt was incurred      4/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
COASTAL COMMUNITY CHURCH                                            Contingent
PO BOX 2100                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GALVESTON                              TX       77553           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,949.85
                                                                Check all that apply.
COASTAL SHORING INC.                                                Contingent
4035 NACO PERRIN #102A                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.73     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $246,805.71
                                                                Check all that apply.
COLUMBIA ELECTRIC SUPPLY                                            Contingent
8610 BROADWAY, STE 200                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.74     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,100.47
                                                                Check all that apply.
COMMERCIAL METALS COMPANY                                           Contingent
DEPT. 1439                                                          Unliquidated
                                                                    Disputed
PO BOX 844579
                                                                Basis for the claim:
DALLAS                                 TX       75284-4579      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.75     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,414.00
                                                                Check all that apply.
CONQUEST DEMOLITION INC.                                            Contingent
271 COMMERCIAL DRIVE                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BUDA                                   TX       78610           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.76     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,234.00
                                                                Check all that apply.
CONTINENTAL QUARRIES, INC.                                          Contingent
PO BOX 37                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
FLORENCE                               TX       76527-0037      Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.77     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $267,876.19
                                                                Check all that apply.
CONVERGINT TECHNOLOGIES LLC                                         Contingent
35257 EAGLE WAY                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHICAGO                                IL       60678-1352      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.78     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $66.00
                                                                Check all that apply.
CORPUS CHRISTI BUILDERS HARDWARE INC.                               Contingent
PO BOX 271418                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78427-1418      Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.79     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $23,136.40
                                                                Check all that apply.
CORPUS CHRISTI STAMP WORKS                                          Contingent
PO BOX 2189                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78403-2189      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.80     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $115.80
                                                                Check all that apply.
COURTESY CAR WASH                                                   Contingent
dba VICTORIA CAR WASH SERVICES LLC                                  Unliquidated
                                                                    Disputed
7102 N NAVARRO
                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,280.00
                                                                Check all that apply.
CRAIG ELECTRIC SERVICE                                              Contingent
5804 BABCOCK ROAD #408                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78240           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,975.00
                                                                Check all that apply.
CROSSROADS SPECIALITIES LLC                                         Contingent
PO BOX 5008                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-5008      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $970.53
                                                                Check all that apply.
CROSSROADS TIRE SERVICE                                             Contingent
8806 N NAVARRO, STE 600-222                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $16,442.65
                                                                Check all that apply.
CRT FLOORING                                                        Contingent
5625 HOLLY RD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78412           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $114,442.30
                                                                Check all that apply.
D&F INDUSTRIES, INC.                                                Contingent
3106 N SUGAR RD.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PHARR                                  TX       78577           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $59,491.55
                                                                Check all that apply.
D&M OWENS INC.                                                      Contingent
PO BOX 311353                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
NEW BRAUNFELS                          TX       79131           Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $187.50
                                                                Check all that apply.
D&M STRIPING LLC                                                    Contingent
114 CLOUD ST.                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,085.36
                                                                Check all that apply.
D-7 ROOFING LLC                                                     Contingent
5470 LINCOLN ST.                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DENVER                                 CO       80216           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
D.L. BANDY CONSTRUCTORS INC.                                        Contingent
4406 CENTERGATE ST                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $22,295.00
                                                                Check all that apply.
D2 EXCAVATING INC.                                                  Contingent
204 CR 180                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LEANDER                                TX       78641           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
DAVID BRADFORD                                                      Contingent
6649 SEACOMBER DR.                                                  Unliquidated
                                                                    Disputed
UNIT 709
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $171,751.27
                                                                Check all that apply.
DAVIS CONTRACTORS LTD.                                              Contingent
5205 FM 236                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CUERO                                  TX       77954-6658      Collection Account

Date or dates debt was incurred      0216                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.93     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $525.34
                                                                Check all that apply.
DexYP                                                               Contingent
PO BOX 619009                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DFW AIRPORT                            TX       75261-9009      Collection Account

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    4   6               Yes


  3.94     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
DILLEY ISD                                                          Contingent
245 HIGHWAY 117                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DILLEY                                 TX       78017           Collection Account

Date or dates debt was incurred      2016-2018                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.95     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,439.36
                                                                Check all that apply.
DISCOUNT TIRE                                                       Contingent
THE REINALT-THOMAS CORPORATION                                      Unliquidated
                                                                    Disputed
PO BOX 29851
                                                                Basis for the claim:
PHOENIX                                AZ       85038-9851      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     2    2   9               Yes


  3.96     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $46,216.86
                                                                Check all that apply.
DONALD R KRUEGER FAMILY TRUST                                       Contingent
PO BOX 3865                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-3865      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.97     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $54,161.60
                                                                Check all that apply.
DRYWALL SYSTEMS INC                                                 Contingent
PO BOX 474                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BELTON                                 TX       76513           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.98     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,250.00
                                                                Check all that apply.
DUCKWORTH, DANIEL LEE                                               Contingent
422 FOREST RIDGE DR                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
KERRVILLE                              TX       78028           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.99     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,800.00
                                                                Check all that apply.
DUNAWAY                                                             Contingent
550 BAILEY AVE, SUITE 400                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
FORT WORTH                             TX       76107           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.100    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,702.89
                                                                Check all that apply.
E.F. EHRIG & SONS LTD.                                              Contingent
221 PR 2003                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GONZALES                               TX       78629           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,896.00
                                                                Check all that apply.
ED BROWN DISTRIBUTORS                                               Contingent
3236 IRVING BLVD                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75247           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $38,423.80
                                                                Check all that apply.
EFFICIENT AC INC.                                                   Contingent
10315 METROPOLITAN DR, SUITE A                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78758           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,072.35
                                                                Check all that apply.
ELECTRA LINK, INC.                                                  Contingent
21755 IH 45, BLDG 10                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SPRING                                 TX       77388           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,526.13
                                                                Check all that apply.
ELLIOTT; JOE S.                                                     Contingent
dba SOUTH TEXAS ECO FOAM INSULATION                                 Unliquidated
                                                                    Disputed
4848 FM 3355
                                                                Basis for the claim:
BEEVILLE                               TX       78102           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.105    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $291.88
                                                                Check all that apply.
ENVIRONMENTAL ALLIES GP INC.                                        Contingent
9625 WINDFERN RD.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77064           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.106    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $28,364.00
                                                                Check all that apply.
EPS INTERNATIONAL INC.                                              Contingent
PO BOX 958012                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ST. LOUIS                              MO       63195-8012      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.107    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,790.32
                                                                Check all that apply.
EQUIPMENTSHARE                                                      Contingent
PO BOX 2214                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DEACATUR                               AL       35609           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.108    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,750.00
                                                                Check all that apply.
EUBANKS GROUP ARCHITECTS                                            Contingent
4116 CENTER ST.                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77007           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,999.00
                                                                Check all that apply.
EVANS INTERIORS INC.                                                Contingent
13211 STAFFORD ROAD, STE 400                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MISSOURI CITY                          TX       77489           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $172,293.75
                                                                Check all that apply.
EVERGREEN POWER LLC                                                 Contingent
PO BOX 1639                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,610.00
                                                                Check all that apply.
EVINS GLASS SERVICE                                                 Contingent
101 N.P.I.D.                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78406           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,730.27
                                                                Check all that apply.
EXPERT AIR REFRIGERATION SERVICES LLC                               Contingent
PO BOX 5453                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ROUND ROCK                             TX       78683           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $643.40
                                                                Check all that apply.
EXXON MOBIL                                                         Contingent
PO BOX 78001                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PHOENIX                                AZ       85062-8001      Collection Account

Date or dates debt was incurred      02/2020                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     8    8   3               Yes


  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
FA NUNNELLY GENERAL CONTRACTOR                                      Contingent
2922 N PAN AM EXPRESSWAY                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78208           Collection Account

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $589.62
                                                                Check all that apply.
FASTENAL COMPANY                                                    Contingent
PO BOX 1286                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
WINONA                                 MN       55987-1286      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
FAYETTE CO                                                          Contingent
151 N WASHINGTON ST., ROOM 301                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LA GRANGE                              TX       78945           Collection Account

Date or dates debt was incurred      2017-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $87.46
                                                                Check all that apply.
FEDEX FREIGHT                                                       Contingent
DEPT CH, PO BOX 10306                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PALATINE                               IL       60055-0306      Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     2    1   5               Yes


  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,589.99
                                                                Check all that apply.
FERGUSON ENTERPRISES INC.                                           Contingent
PO BOX 847411                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75284-7411      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     5    1   2               Yes


  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
FERNANDO & NORMA REYES                                              Contingent
6649 SEACOMBER DR                                                   Unliquidated
                                                                    Disputed
UNIT 1104
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,640.50
                                                                Check all that apply.
FIRE KING LLC                                                       Contingent
8906 WALL ST. # 603                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78754           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.121    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,481.50
                                                                Check all that apply.
FIREPROOF CONTRACTORS INC                                           Contingent
PO BOX 550107                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77255           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.122    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,122.78
                                                                Check all that apply.
FIRETROL PROTECTION SYSTEMS INC.                                    Contingent
4410 DILLON LANE SUITE 38                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78415           Collection Account

Date or dates debt was incurred      2016                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.123    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,710.00
                                                                Check all that apply.
FIRETROL PROTECTION SYSTEMS, INC                                    Contingent
105 WINDY MEADOWS, BLDG #1                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SCHERTZ                                TX       78154           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.124    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $124,202.50
                                                                Check all that apply.
FIRETROL PROTECTION SYSTEMS, INC                                    Contingent
4616 W HOWARD LANE #700                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78728           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.125    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $57,644.50
                                                                Check all that apply.
FIRETRON INC.                                                       Contingent
PO BOX 1604                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
STAFFORD                               TX       77497           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.126    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
FLETCHER LEE                                                        Contingent
6649 SEACOMBER DR                                                   Unliquidated
                                                                    Disputed
UNIT 309
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.127    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $33,051.65
                                                                Check all that apply.
FRAMING MASTERS INC.                                                Contingent
356 FM 1984                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MAXWELL                                TX       78656           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.128    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,482.00
                                                                Check all that apply.
FRED TILLMAN CONTRACTORS INC                                        Contingent
7011 W BEE CAVE RD                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78746           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
FROST BANK                                                          Contingent
3838 ROGERS RD                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78251           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $867.00
                                                                Check all that apply.
FROST INSURANCE AGENCY INC.                                         Contingent
PO BOX 2625                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77902-2625      Collection Account

Date or dates debt was incurred      7/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,963.47
                                                                Check all that apply.
FUENTES JR.; AVELINO                                                Contingent
212 HONDO                                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DEVINE                                 TX       78016           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $32,881.62
                                                                Check all that apply.
G.D. INTERIOR CONSTRUCTION                                          Contingent
3506 COPELAND                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78219           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $302,044.36
                                                                Check all that apply.
G.F.C.S. INC.                                                       Contingent
11734 SCHRIBER ROAD                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BUDA                                   TX       78610           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
GANADO ISD                                                          Contingent
PO BOX 1200                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GANADO                                 TX       77962           Collection Account

Date or dates debt was incurred      2017-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $377.10
                                                                Check all that apply.
GARZA, JUAN                                                         Contingent
dba RGV CONCRETE STAIN                                              Unliquidated
                                                                    Disputed
205 E VERACRUZ DR
                                                                Basis for the claim:
PHARR                                  TX       78577           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $38,457.30
                                                                Check all that apply.
GARZA; DANIEL                                                       Contingent
dba THE CARPET HOUSE                                                Unliquidated
                                                                    Disputed
1303 E ROGERS RD
                                                                Basis for the claim:
EDINBURG                               TX       78542           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.137    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,086.26
                                                                Check all that apply.
GERRY STRICKLIN                                                     Contingent
dba AIC                                                             Unliquidated
                                                                    Disputed
11403 GRAPEWOOD DR.
                                                                Basis for the claim:
HOUSTON                                TX       77089           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.138    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $369.24
                                                                Check all that apply.
GILL REPROGRAPHICS INC.                                             Contingent
1227 SAFARI                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78216           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.139    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $86,250.10
                                                                Check all that apply.
GPM ENGINEERING INC                                                 Contingent
5440 OLD BROWNSVILLE ROAD                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78417           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.140    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,106.18
                                                                Check all that apply.
GQ MASONRY                                                          Contingent
5235 CANARY HOLLOW                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78222           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $92,070.68
                                                                Check all that apply.
GRANT MACKAY COMPANY INC.                                           Contingent
1055 WEST 500 SOUTH                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
WEST BOUNTIFUL                         UT       84087           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $967.76
                                                                Check all that apply.
GREATAMERICAN FINANCIAL SERVICES                                    Contingent
PO BOX 660831                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75266-0831      Charge Account

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     0    0   0               Yes


  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $500.00
                                                                Check all that apply.
GROUND PENETRATING RADAR SYSTEMS LLC                                Contingent
PO BOX 932                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
TOLEDO                                 OH       43697           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $18,375.00
                                                                Check all that apply.
GUADALUPE JOEL SANCHEZ                                              Contingent
G.J. SANCHEZ PAINTING                                               Unliquidated
                                                                    Disputed
2434 VALENCIA
                                                                Basis for the claim:
SAN ANTONIO                            TX       78237           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.145    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $26,609.21
                                                                Check all that apply.
GUIDO LUMBER COMPANY INC.                                           Contingent
8526 VIDOR AVE                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78216           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.146    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $345.80
                                                                Check all that apply.
GUINEA RUN RV PARK                                                  Contingent
275 COUNTY ROAD 422                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PREMONT                                TX       78375           Collection Account

Date or dates debt was incurred      1/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.147    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $245,108.72
                                                                Check all that apply.
GULF BEND CONTRACTING LLC                                           Contingent
406 TAMPA DRIVE                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORA                                TX       77904           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.148    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,554.55
                                                                Check all that apply.
H&H DOORS & HARDWARE LTD                                            Contingent
PO BOX 3542                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.149    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,970.00
                                                                Check all that apply.
HANSCO INC.                                                         Contingent
11927 RAIL DR                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78233           Collection Account

Date or dates debt was incurred      7/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.150    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $24.82
                                                                Check all that apply.
HCEC                                                                Contingent
PO BOX 753                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HAMILTON                               TX       76531-0753      Collection Account

Date or dates debt was incurred      2/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       5     2    0   1               Yes


  3.151    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $131.75
                                                                Check all that apply.
HD SUPPLY CONSTRUCTION AND INDUSTRIAL                               Contingent
PO BOX 4852                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ORLANDO                                FL       32802-4852      Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.152    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
HERBERT FELDMAN                                                     Contingent
6649 SEACOMBER DR                                                   Unliquidated
                                                                    Disputed
UNIT 801
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.153    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,750.00
                                                                Check all that apply.
HERMAN ALARMS & HOME                                                Contingent
441 FRITZ RD                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BRENHAM                                TX       77833           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.154    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,232.75
                                                                Check all that apply.
HICKS LIGHTNING PROTECTION                                          Contingent
7420 FM 2449                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PONDER                                 TX       76259           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.155    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,220.00
                                                                Check all that apply.
HOME DEPOT CREDIT SERVICES                                          Contingent
DEPT 32-2541419903                                                  Unliquidated
                                                                    Disputed
PO BOX 183176
                                                                Basis for the claim:
COLUMBUS                               OH       43218-3176      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     9    0   3               Yes


  3.156    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $384.29
                                                                Check all that apply.
HUGHES NETWORK SYSTEMS                                              Contingent
PO BOX 96874                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHICAGO                                IL       60693-6874      Collection Account

Date or dates debt was incurred      02/2020                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       3     4    3   6               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.157    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,718.40
                                                                Check all that apply.
HUNTER DEMOLITION & WRECKING CORP.                                  Contingent
PO BOX 786                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
POTEET                                 TX       78065           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.158    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,916.75
                                                                Check all that apply.
HW MARSHALL CONSTRUCTION INC                                        Contingent
PO BOX 1043                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LYFORD                                 TX       78569           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.159    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $100,939.80
                                                                Check all that apply.
INFINITI COMMUNICATIONS TECHNOLOGIES INC                            Contingent
PO BOX 184 (DEPT #208)                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77001-0184      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.160    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $52,243.00
                                                                Check all that apply.
JACOB HILDERBRAND                                                   Contingent
dba JR WATERPROOFING                                                Unliquidated
                                                                    Disputed
9811 TAMBER LANE
                                                                Basis for the claim:
SAN ANTONIO                            TX       78255           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.161    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,349.00
                                                                Check all that apply.
JAMES BONNER CONSTRUCTION                                           Contingent
1823 NAEGELEN ROAD                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LYTLE                                  TX       78052           Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.162    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,089.45
                                                                Check all that apply.
JAMES EMIL FAREK                                                    Contingent
J&P FAREK PAVING CONSULTANTS                                        Unliquidated
                                                                    Disputed
PO BOX 452
                                                                Basis for the claim:
FLATONIA                               TX       78941           Collection Agency

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.163    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,306.10
                                                                Check all that apply.
JAMES TELECO                                                        Contingent
341 EDGAR LEESVILLE ROAD                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CUERO                                  TX       77954           Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.164    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $115,842.21
                                                                Check all that apply.
JD KUNZ CONCRETE CONTRACTOR, INC                                    Contingent
PO BOX 310419                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
NEW BRAUNFELS                          TX       78131           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.165    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,197.47
                                                                Check all that apply.
JERICHO WOODWORKS                                                   Contingent
425 SUMMER PARK DR.                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
STAFFORD                               TX       77477           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.166    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $1.00
                                                                Check all that apply.
JOHN DEERE FINANCIAL                                                Contingent
PO BOX 650215                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75265-0215      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.167    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,500.00
                                                                Check all that apply.
JOHN MORRIS                                                         Contingent
dba MORRIS UNDERGROUND CONST.                                       Unliquidated
                                                                    Disputed
10163 FM 236
                                                                Basis for the claim:
VICTORIA                               TX       77905           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.168    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,880.40
                                                                Check all that apply.
JOHNSON CONTROLS FIRE PROTECTION LP                                 Contingent
DEPT CH 10320                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PALATINE                               IL       60055-0320      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.169    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $69,377.85
                                                                Check all that apply.
JOLLY ROOFING & CONTRACTING CO INC                                  Contingent
711 CHANEY                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
COLLIERVILLE                           TN       38017           Collection Account

Date or dates debt was incurred      2016                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.170    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $23,342.60
                                                                Check all that apply.
JUNG TILE SERVICES, INC                                             Contingent
PO BOX 3762                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-3762      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.171    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,055.77
                                                                Check all that apply.
KAYE & SONS SITE DEVELOPMENT                                        Contingent
4920 BEAR LANE                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78405           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.172    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,524.50
                                                                Check all that apply.
KCAC, INC.                                                          Contingent
dba KATY BLINDS COMMERICAL                                          Unliquidated
                                                                    Disputed
5609 13TH ST
                                                                Basis for the claim:
KATY                                   TX       77493           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.173    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $93,463.20
                                                                Check all that apply.
KCM CABINETS, INC                                                   Contingent
5738 GREY ROCK DR.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78228           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.174    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,410.00
                                                                Check all that apply.
KDR CONTRACTORS, LLC                                                Contingent
PO BOX 1138                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
COLUMBUS                               TX       78934           Collection Account

Date or dates debt was incurred      4/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.175    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $290,043.32
                                                                Check all that apply.
KELLY PAINTING & DRYWALL, LLC                                       Contingent
9703 N. NAVARRO, STE A                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2016                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.176    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $800.00
                                                                Check all that apply.
KENDALL EROSION CONTROL SERVICES                                    Contingent
CCECS INC                                                           Unliquidated
                                                                    Disputed
5866 S. STAPLES, STE. 301
                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78413           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.177    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,320.75
                                                                Check all that apply.
KEY ENTERPRISES                                                     Contingent
1311 CHISHOLM TRAIL, STE. 404                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ROUND ROCK                             TX       78681           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.178    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $272,774.45
                                                                Check all that apply.
KILLEEN GLASS & MIRROR COMPANY, INC.                                Contingent
5211 E VETERANS MEMORIAL BLVD                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
KILLEEN                                TX       76543           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.179    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $463.40
                                                                Check all that apply.
KLINGER SPECIALTIES DIRECT INC                                      Contingent
6200 TRI COUNTY PKWY, STE. 100                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SCHERTZ                                TX       78154           Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.180    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,175.00
                                                                Check all that apply.
KNEEDEEP LT LLC                                                     Contingent
PO BOX 114                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHATTANOOGA                            TX       75328-0114      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.181    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,941.25
                                                                Check all that apply.
KNEZEK CONTRACTION SERVICES                                         Contingent
17701 PRAIRIE VERBENA LANE                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ELGIN                                  TX       78621           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.182    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $37,358.47
                                                                Check all that apply.
KNOLLE, HOLCOMB, CALLAHAN                                           Contingent
13625 RONALD REAGAN BLVD., BUILDING 1, S                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CEDAR PARK                             TX       78613           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.183    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,225.09
                                                                Check all that apply.
KRONBERG'S FLAGS & FLAGPOLES                                        Contingent
7106 MAPLERIDGE                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77081           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.184    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $108,000.00
                                                                Check all that apply.
KRUEGER; TRACY                                                      Contingent
405 SHILOH                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.185    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $32.48
                                                                Check all that apply.
LAGO VISTA SUN HARDWARE                                             Contingent
7401 LOHMAN FORD                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAGO VISTA                             TX       78645           Collection Account

Date or dates debt was incurred      1/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.186    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $60.95
                                                                Check all that apply.
LAMPASAS BUILDERS MARK, INC.                                        Contingent
PO BOX 588                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       8     8    0   0               Yes


  3.187    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
LAMPASAS CO                                                         Contingent
501 E 4TH ST                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.188    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $371,284.55
                                                                Check all that apply.
LANGLEY CONSTRUCTION GROUP                                          Contingent
717 N. WATER STREET                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BURNET                                 TX       78611           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.189    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $185,980.76
                                                                Check all that apply.
LANTZ, JACOB                                                        Contingent
dba LANTZ'S LAKESIDE PLUMBING                                       Unliquidated
                                                                    Disputed
PO BOX 4462
                                                                Basis for the claim:
LAGO VISTA                             TX       78645           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.190    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $27.00
                                                                Check all that apply.
LARRY'S LUBE, TIRE AND AUTO                                         Contingent
913 S. CHESTNUT ST                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     4    1   9               Yes


  3.191    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $36,885.00
                                                                Check all that apply.
LARSON PLUMBING & UTILITY CO.                                       Contingent
605 CANTWELL                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78408           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.192    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $19,676.22
                                                                Check all that apply.
LAUGER COMPANIES, INC.                                              Contingent
PO BOX 2146                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77902-2146      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.193    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $51,666.50
                                                                Check all that apply.
LEGACY MASONRY, LLC                                                 Contingent
PO BOX 21747                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
WACO                                   TX       76702           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.194    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $11.54
                                                                Check all that apply.
LENTZ HARDWARE                                                      Contingent
1207 N WHEELER                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77901           Collection Account

Date or dates debt was incurred      4/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.195    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $73,861.40
                                                                Check all that apply.
LESTER CONTRACTING, INC                                             Contingent
PO BOX 986                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PORT LAVACA                            TX       77979-0986      Collection Account

Date or dates debt was incurred      2016                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.196    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $19,525.82
                                                                Check all that apply.
LEVERAGE MACHINE & FABRICATION                                      Contingent
2512 FM 3084                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PORT LAVACA                            TX       77979           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.197    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,528.03
                                                                Check all that apply.
LIZABETH LAUREL MICA                                                Contingent
dba THE OUTHOUSE                                                    Unliquidated
                                                                    Disputed
PO BOX 322
                                                                Basis for the claim:
FLATONIA                               TX       78941-0322      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.198    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:               $1,055,549.22
                                                                Check all that apply.
LOCHRIDGE-PRIEST, INC.                                              Contingent
2901 E. INDUSTRIAL BLVD                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
WACO                                   TX       76705           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.199    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,786.21
                                                                Check all that apply.
LODGE AT LAKELINE VILLAGE                                           Contingent
2000 SOUTH LAKELINE BLVD                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CEDAR PARK                             TX       78613           Collection Account

Date or dates debt was incurred      2/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     3    2   4               Yes


  3.200    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,692.96
                                                                Check all that apply.
LOFTIN EQUIPMENT CO.                                                Contingent
PO BOX 641055                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75264-1055      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.201    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $222.03
                                                                Check all that apply.
LONE STAR CONTAINERS                                                Contingent
317 SIDNEY BAKER ST.                                                Unliquidated
                                                                    Disputed
STE. 400, PMB 259
                                                                Basis for the claim:
KERRVILLE                              TX       78028           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.202    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $282.82
                                                                Check all that apply.
LONE STAR OVERNIGHT LP                                              Contingent
PO BOX 149225                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78714-9225      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.203    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $592.00
                                                                Check all that apply.
LONGHORN BLINDS OF AUSTIN, LLC                                      Contingent
4201 S. CONGRESS AVE.                                               Unliquidated
                                                                    Disputed
STE. 312
                                                                Basis for the claim:
AUSTIN                                 TX       78745           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.204    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $22,288.00
                                                                Check all that apply.
LUKE, JEFFERY                                                       Contingent
dba PAVECO DESIGNS LLC                                              Unliquidated
                                                                    Disputed
PO BOX 869
                                                                Basis for the claim:
COMFORT                                TX       78013           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.205    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $104,980.43
                                                                Check all that apply.
M MARTINEZ MASONS, INC                                              Contingent
M MARTINEZ MASONRY                                                  Unliquidated
                                                                    Disputed
1088 WOOD HI RD.
                                                                Basis for the claim:
VICTORIA                               TX       77905           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.206    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $975.00
                                                                Check all that apply.
M&M SPECIALTY CAULKING, LLC                                         Contingent
137 EARL ST                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78212           Collection Account

Date or dates debt was incurred      8/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.207    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $244.25
                                                                Check all that apply.
MABRY, RAY                                                          Contingent
dba BEST PEST CONTROL                                               Unliquidated
                                                                    Disputed
108 MABRY LANE
                                                                Basis for the claim:
WHITNEY                                TX       76692           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.208    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $38,180.75
                                                                Check all that apply.
MAJEK TILE & MARBLE CO., INC                                        Contingent
PO BOX 271607                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78427           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.209    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $112,855.38
                                                                Check all that apply.
MALEK, INC                                                          Contingent
PO BOX 679                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78403           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.210    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,413.90
                                                                Check all that apply.
MANCO STRUCTURES, LTD.                                              Contingent
6106 FM 3009                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SCHERTZ                                TX       78154           Collection Account

Date or dates debt was incurred      2/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.211    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $143,904.30
                                                                Check all that apply.
MARK McCANDLESS                                                     Contingent
dba AUSTIN REFRIGERATION, LLC                                       Unliquidated
                                                                    Disputed
5114 BALCONES WOODS DR., #307-300
                                                                Basis for the claim:
AUSTIN                                 TX       78759           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.212    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
MARKSMEN GENERAL CONTRACTORS INC.                                   Contingent
24165 IH-10, SUITE 744                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78257           Collection Account

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.213    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $44,227.07
                                                                Check all that apply.
MARLOW THOMAS RESIDENTIAL SYSTEMS, LLC                              Contingent
16116 COLLEGE OAK                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78249           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.214    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $41,369.00
                                                                Check all that apply.
MARSH WATERPROOFING, INC.                                           Contingent
PO BOX 968                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VIDOR                                  TX       77670           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.215    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,782.50
                                                                Check all that apply.
MCALLEN HOME & COMMERCIAL PAINTING                                  Contingent
10540 N. SHARY RD.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MISSION                                TX       78573           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.216    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $90.00
                                                                Check all that apply.
MCALLEN PEST CONTROL, INC                                           Contingent
PO BOX 5249                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MCALLEN                                TX       78502           Collection Account

Date or dates debt was incurred      6/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.217    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $412.67
                                                                Check all that apply.
METAL MART                                                          Contingent
PO BOX 1735                                                         Unliquidated
                                                                    Disputed
SHREVEPORT, LA 71166-17365
                                                                Basis for the claim:
                                                                Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.218    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $412,484.52
                                                                Check all that apply.
MISSION RESTAURANT SUPPLY                                           Contingent
PO BOX 10310                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78210-0310      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.219    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $63,116.08
                                                                Check all that apply.
ML ROOFING                                                          Contingent
6819 HIGHWAY BLVD., STE 660                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
KATY                                   TX       77494-8299      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.220    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,141.21
                                                                Check all that apply.
MOMENTUM RENTALS & SALES                                            Contingent
809 SOUTH HWY 35                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PORT LAVACA                            TX       77979           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.221    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $19,500.00
                                                                Check all that apply.
MOORECO, INC                                                        Contingent
dba BEST-RITE CONTRACT DIVISION                                     Unliquidated
                                                                    Disputed
PO DRAWER D
                                                                Basis for the claim:
TEMPLE                                 TX       76503           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.222    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $608.00
                                                                Check all that apply.
MULDER FIRE PROTECTION, INC                                         Contingent
5807 LA COLONIA                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78218           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.223    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,404.80
                                                                Check all that apply.
NAH SPORTS FLOORING, LLC                                            Contingent
3528 E. TC JESTER BLVD                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77018           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.224    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,328.33
                                                                Check all that apply.
NATIONAL CONSTRUCTION RENTALS INC.                                  Contingent
PO BOX 4503                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PACOIMA                                CA       91333           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     3    1   6               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.225    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:               $1,392,351.43
                                                                Check all that apply.
NEWFIRST NATIONAL BANK                                              Contingent
10301 N.E. ZAC LENTZ PKWY                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Promissory Note

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.226    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
NORTHPOINT CHURCH                                                   Contingent
1320 ARROW POINT DR                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CEDAR PARK                             TX       78613           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.227    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,746.44
                                                                Check all that apply.
O'REILLY AUTOMOTIVE, INC                                            Contingent
PO BOX 9464                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SPRINGFIELD                            MO       65801-9464      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     5    3   5               Yes


  3.228    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $51,099.99
                                                                Check all that apply.
ONEPOINTE SOLUTIONS, LLC                                            Contingent
1112 SWENSON BLVD                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ELGIN                                  TX       78621           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.229    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,794.21
                                                                Check all that apply.
OVENELL, BRYAN                                                      Contingent
dba CENTRAL TEXAS EROSION CONTROL (CTEC)                            Unliquidated
                                                                    Disputed
18018 FM 969
                                                                Basis for the claim:
MANOR                                  TX       78653           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.230    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,173.66
                                                                Check all that apply.
PAC-VAN INC                                                         Contingent
75 REMITTANCE DR., STE. 3300                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHICAGO                                IL       60675-3300      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.231    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $745.83
                                                                Check all that apply.
PARKER, MICHAEL                                                     Contingent
dba PARKERS CUSTOM STAINED & ETCHED GLAS                            Unliquidated
                                                                    Disputed
4006 STATHMORE DR.
                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      4/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.232    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $145.29
                                                                Check all that apply.
PARKS COFFEE                                                        Contingent
PO BOX 110209                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CARROLLTON                             TX       75011-0209      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     6    2   6               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.233    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $954.08
                                                                Check all that apply.
PEST SOLUTIONS, INC.                                                Contingent
PO BOX 5371                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-5371      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.234    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,750.00
                                                                Check all that apply.
PETERSON CONTRACTORS, INC                                           Contingent
PO BOX A                                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
REINBECK                               IA       50669           Collection Account

Date or dates debt was incurred      10/2017                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.235    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,036.25
                                                                Check all that apply.
PILSNER, BEVERLY                                                    Contingent
dba RENSLIP FIRE PROTECTION                                         Unliquidated
                                                                    Disputed
4947 HWY 90
                                                                Basis for the claim:
ALLEYTON                               TX       78935           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.236    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,575.00
                                                                Check all that apply.
POWERS GOOLSBY ARCHITECTS                                           Contingent
1824 UNIVERSAL CITY BLVD                                            Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
UNIVERSAL CITY                         TX       78148           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.237    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,181.47
                                                                Check all that apply.
PRAXAIR DISTRIBUTION, INC                                           Contingent
DEPT. 0812                                                          Unliquidated
                                                                    Disputed
PO BOX 120812
                                                                Basis for the claim:
DALLAS                                 TX       75312-0812      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     0    1   9               Yes


  3.238    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
PREMONT ISD                                                         Contingent
PO BOX 530                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PREMONT                                TX       78375           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.239    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $225,505.00
                                                                Check all that apply.
PRIME COAT II, LLC                                                  Contingent
PRIME COAT COATING SYSTEMS                                          Unliquidated
                                                                    Disputed
1949 SWANSON COURT
                                                                Basis for the claim:
GURNEE                                 IL       60031           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.240    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $89,895.00
                                                                Check all that apply.
PRIME FIVE PAINTING                                                 Contingent
15839 AUGUSTA CORNER                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78247           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.241    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $84,353.63
                                                                Check all that apply.
PRO TECH MECHANICAL, INC.                                           Contingent
1622 SARATOGA BLVD                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
COPRUS CHRISTI                         TX       78417           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.242    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,046.02
                                                                Check all that apply.
PRODIRT SERVICES LLC                                                Contingent
PO BOX 1508                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PFLUGERVILLE                           TX       78691           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.243    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,492.50
                                                                Check all that apply.
PROTECTIVE POLYMER SOLUTIONS                                        Contingent
PO BOX 17244                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SUGARLAND                              TX       77496           Collection Account

Date or dates debt was incurred      6/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.244    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $155,415.82
                                                                Check all that apply.
PYE-BARKER FIRE & SAFETY                                            Contingent
6701 IMPERIAL DRIVE                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
WACO                                   TX       76712           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.245    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,111.50
                                                                Check all that apply.
QCTV CORP                                                           Contingent
PO BOX 691165                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77269           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.246    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $39,710.00
                                                                Check all that apply.
QUANTA BUILDING GROUP, LLC                                          Contingent
PO BOX 166858                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
IRVING                                 TX       75016-6858      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.247    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,746.89
                                                                Check all that apply.
QUANTA BUILDING PARTNERS, LLC                                       Contingent
QUANTA BUILDING GROUP                                               Unliquidated
                                                                    Disputed
201 NORTHWOOD DR.
APT. 2-434                                                      Basis for the claim:
FLOWER MOUND                           TX       75022           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.248    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $32,000.00
                                                                Check all that apply.
R&S EXCAVATION LLC                                                  Contingent
PO BOX 459                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BOERNE                                 TX       78006           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.249    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $34,531.58
                                                                Check all that apply.
R. HESTER CONTRACTORS, INC                                          Contingent
210 TOLLE RD                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CIBOLO                                 TX       78108           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.250    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $147,337.20
                                                                Check all that apply.
RAIN KING, INC                                                      Contingent
PO BOX 192                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77902-0192      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.251    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $44,117.50
                                                                Check all that apply.
RAIN SEAL MASTER ROOFING & SHEET METAL,                             Contingent
2306 PORT LAVACA DR                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77901           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.252    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
RANDY KACHUR                                                        Contingent
6649 SEACOMBER DR                                                   Unliquidated
                                                                    Disputed
UNIT 608
                                                                Basis for the claim:
PORT ARANSAS                           TX       78375           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.253    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,493.12
                                                                Check all that apply.
RED DOT BUILDING SYSTEMS                                            Contingent
1209 W. CORSICANA ST.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ATHENS                                 TX       75751           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.254    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $567.29
                                                                Check all that apply.
REGIONAL STEEL PRODUCTS, INC                                        Contingent
PO BOX 3887                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-3887      Collection Account

Date or dates debt was incurred      1/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number             5    1   1               Yes


  3.255    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $58,401.74
                                                                Check all that apply.
RENKEN'S NURSERY, INC                                               Contingent
2701 SALEM RD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.256    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,610.92
                                                                Check all that apply.
REPUBLIC SERVICES #847                                              Contingent
PO BOX 78829                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PHOENIX                                AZ       85062-8829      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       9     9    6   0               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.257    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $15,069.36
                                                                Check all that apply.
RHODES DRYWALL & PAINTING                                           Contingent
1035 S. TX AVE                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
COLUMBUS                               TX       78934           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.258    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,507.75
                                                                Check all that apply.
RICO, CHRISTIAN F                                                   Contingent
dba CR PUNCH CREW                                                   Unliquidated
                                                                    Disputed
2701 THOMAS AVENUE
                                                                Basis for the claim:
PASADENA                               TX       77506           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.259    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $42,456.84
                                                                Check all that apply.
RIDGE AV, LLC                                                       Contingent
715 DISCOVERY BLVD                                                  Unliquidated
                                                                    Disputed
STE. 502
                                                                Basis for the claim:
CEDAR PARK                             TX       78613           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.260    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
RIVER VALLEY CHRISTIAN FELLOWSHIP                                   Contingent
PO BOX 629                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CEDAR CREEK                            TX       78612           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.261    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $50,175.00
                                                                Check all that apply.
RK WEBB, LLC                                                        Contingent
14493 SO. PADRE ISLAND DR                                           Unliquidated
                                                                    Disputed
STE A, PMB 508
                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78418           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.262    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,127.50
                                                                Check all that apply.
ROBERT D. GOEBEL CONTRACTOR                                         Contingent
dba GOEBEL WOODWORK                                                 Unliquidated
                                                                    Disputed
1213 MCARTHUR ST
                                                                Basis for the claim:
CUERO                                  TX       77954           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.263    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,909.43
                                                                Check all that apply.
ROLLINS, JARRETT                                                    Contingent
dba ROLLINS RENT A FENCE                                            Unliquidated
                                                                    Disputed
PO BOX 6829
                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78466           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.264    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $16,154.40
                                                                Check all that apply.
ROYAL AIR HOUSTON                                                   Contingent
12519 FM 529 RD                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77041           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.265    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $130,442.50
                                                                Check all that apply.
RPM MANUFACTURING, LLC                                              Contingent
2100 J&B DRIVE                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN BENITO                             TX       78586           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.266    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,117.76
                                                                Check all that apply.
S&J FENCE CO                                                        Contingent
1825 NO. PADRE ISLAND DR.                                           Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78408           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.267    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $20,524.80
                                                                Check all that apply.
SAN ANTONIO FLOOR FINISHERS, INC                                    Contingent
214 WEST TURBO DR                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78216-3387      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.268    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,080.00
                                                                Check all that apply.
SANDHOP; GARLAND - CPA                                              Contingent
608 N WELLS                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
EDNA                                   TX       77957-2719      Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.269    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,682.25
                                                                Check all that apply.
SCHULENBURG GLASS COMPANY                                           Contingent
409 SUMMIT                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SCHULENBURG                            TX       78956           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.270    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $650.00
                                                                Check all that apply.
SCOTT A. POWELL & CHRIS POWELL                                      Contingent
dba PAGE STRIPING                                                   Unliquidated
                                                                    Disputed
PO BOX 4588
                                                                Basis for the claim:
VICTORIA                               TX       77903-4588      Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.271    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $32,608.89
                                                                Check all that apply.
SCOTT ELECTRIC COMPANY                                              Contingent
2001 N. PORT AVE.                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78403           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.272    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $90,920.63
                                                                Check all that apply.
SECHRIST-HALL COMPANY                                               Contingent
PO BOX 2347                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HARLINGEN                              TX       78551-2347      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.273    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $21,797.00
                                                                Check all that apply.
SERNA, CHRISTOPHER                                                  Contingent
dba S&S CUSTOM CABINETS                                             Unliquidated
                                                                    Disputed
1641 N. CAMP
                                                                Basis for the claim:
SEGUIN                                 TX       78155           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.274    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
SHELL FLEET NAVIGATOR / WEX                                         Contingent
PO BOX 70995                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHARLOTTE                              NC       28272           Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.275    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,687.00
                                                                Check all that apply.
SHELMARK ENGINEERING LLC                                            Contingent
921 FM 517 ROAD EAST                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DICKINSON                              TX       77539           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.276    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
SHEPHARD OF THE HILLS                                               Contingent
6914 WURZBACH RD                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78240           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.277    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $57.78
                                                                Check all that apply.
SHERWIN WILLIAMS #7355                                              Contingent
3101 PAT BOOKER ROAD                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
UNIVERSAL CITY                         TX       78148-2753      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.278    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $752.90
                                                                Check all that apply.
SHERWIN WILLIAMS #7436                                              Contingent
707 E. MOCKINGBIRD LN.                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904-2144      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    9   2               Yes


  3.279    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $279.40
                                                                Check all that apply.
SIGN INTERNATIONAL, INC                                             Contingent
PO BOX 20054                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BEAUMONT                               TX       77720-0054      Collection Account

Date or dates debt was incurred      8/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.280    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,553.85
                                                                Check all that apply.
SIX FLAGS GLASS COMPANY                                             Contingent
dba BS&G GLASS CO.                                                  Unliquidated
                                                                    Disputed
PO BOX 3462
                                                                Basis for the claim:
VICTORIA                               TX       77903-3462      Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.281    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $67,706.50
                                                                Check all that apply.
SKELTON ENTERPRISES, INC                                            Contingent
dba SKELTON FIRE ALARM                                              Unliquidated
                                                                    Disputed
12000 CROWN POINT DR., STE. 125
                                                                Basis for the claim:
SAN ANTONIO                            TX       78233           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.282    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,720.00
                                                                Check all that apply.
SLATER PAINTING COMPANY, INC.                                       Contingent
PO BOX 161542                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78716-1542      Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.283    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $53,649.69
                                                                Check all that apply.
SMITH HAMILTON, LLC                                                 Contingent
10534 SENTINEL DRIVE                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78217           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.284    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,115.34
                                                                Check all that apply.
SOUTH TEXAS SCHOOL FURNITURE                                        Contingent
107 NORTH MAIN ST.                                                  Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HALLETTSVILLE                          TX       77964           Collection Account

Date or dates debt was incurred      6/2018                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.285    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $33,389.50
                                                                Check all that apply.
SOUTH TEXAS STEEL SERVICE CO., LLC                                  Contingent
PO BOX 2208                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77902-2208      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.286    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $6.38
                                                                Check all that apply.
SOUTHERN CARLSON SYSTEMS, INC                                       Contingent
PO BOX 744372                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
ATLANTA                                GA       30374-4372      Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     5    0   8               Yes


  3.287    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $890.00
                                                                Check all that apply.
SOUTHERN STAR STEEL SERVICES, LLC                                   Contingent
2102 S. OLD TEMPLE RD                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LORENA                                 TX       76655           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.288    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $822.70
                                                                Check all that apply.
SOUTHPOINT RENTALS, LLC                                             Contingent
PO BOX 511                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
KINGSVILLE                             TX       78364           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.289    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,370.10
                                                                Check all that apply.
SPECIALTY DRILLING                                                  Contingent
PO BOX 753185                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77275-3185      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.290    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $292.98
                                                                Check all that apply.
SPECTRUM                                                            Contingent
PO BOX 60074                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CITY OF INDUSTRY                       CA       91716-0074      Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     9    4   9               Yes


  3.291    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $47,479.00
                                                                Check all that apply.
SPECTRUM CORPORATION, ATTN                                          Contingent
SCOREBOARD DIVISION                                                 Unliquidated
                                                                    Disputed
PO BOX 750456
                                                                Basis for the claim:
HOUSTON                                TX       77275-0456      Collection Account

Date or dates debt was incurred      8/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.292    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,135.89
                                                                Check all that apply.
SSC SIGNS & LIGHTING, LLC                                           Contingent
2351 W. NORTHWEST HWY, #3320                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75220           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.293    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,928.42
                                                                Check all that apply.
STAND SURE CONSTRUCTION, LLC                                        Contingent
1205 WEST AVE J                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BELTON                                 TX       76513           Collection Account

Date or dates debt was incurred      5/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.294    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $27,025.80
                                                                Check all that apply.
STEFANIE DELEON                                                     Contingent
DBA ALL MIGHTY PLUMBING                                             Unliquidated
                                                                    Disputed
707 W. ELM
                                                                Basis for the claim:
EDNA                                   TX       77957           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.295    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,217.84
                                                                Check all that apply.
STRAIGHT LINE BUILDING SYSTEMS, INC                                 Contingent
32916 FM 529                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BROOKSHIRE                             TX       77423           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.296    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,297.21
                                                                Check all that apply.
SUDDENLINK BUSINESS                                                 Contingent
PO BOX 660365                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75266-0365      Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.297    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,018.00
                                                                Check all that apply.
SUMMIT LOCKERS, INC.                                                Contingent
138 McLEOD RD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
COLUMBIA                               SC       29203           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.298    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $23,025.40
                                                                Check all that apply.
SUPERIOR FENCE CO                                                   Contingent
dba DM3 ENTERPRISES, INC                                            Unliquidated
                                                                    Disputed
139 DEWBERRY
                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.299    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $54,388.15
                                                                Check all that apply.
SUPREME CUSTOM FABRICATORS                                          Contingent
SUPREME FIXTURES                                                    Unliquidated
                                                                    Disputed
PO BOX 193655
                                                                Basis for the claim:
LITTLE ROCK                            AR       72219           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.300    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $161,279.40
                                                                Check all that apply.
SUSTAINABLE SECURITY SOLUTIONS, INC                                 Contingent
1107 BASSE RD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78212           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.301    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $188,275.57
                                                                Check all that apply.
SYSTEMS 2011 HOLDING LP                                             Contingent
dba SYSTEMS PAINTERS                                                Unliquidated
                                                                    Disputed
PO BOX 26
                                                                Basis for the claim:
NEW ULM                                TX       78950           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.302    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,919.40
                                                                Check all that apply.
T OF V, LLC                                                         Contingent
dba TOYOTA OF VICTORIA                                              Unliquidated
                                                                    Disputed
5902 N. NAVARRO ST
                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     4    1   0               Yes


  3.303    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $13,604.00
                                                                Check all that apply.
T.H. WILLIS COMPANY INC                                             Contingent
PO BOX 1330                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAMPASAS                               TX       76550           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.304    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,581.05
                                                                Check all that apply.
TCR- THE BEST ALARM                                                 Contingent
1416 HOUSTON                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAREDO                                 TX       78040           Collection Account

Date or dates debt was incurred      2016                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.305    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $997.50
                                                                Check all that apply.
TENSO SHADE LLC                                                     Contingent
17595 W. BLANCO RD., STE. 300                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78232           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.306    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $186,859.23
                                                                Check all that apply.
TESCO INDUSTRIES, LLC                                               Contingent
1035 HACIENDA ST                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
BELLVILLE                              TX       77418           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.307    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,690.50
                                                                Check all that apply.
TEXAN GLASS & SOLAR CONTROL                                         Contingent
24625 BUDDE RD                                                      Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
THE WOODLANDS                          TX       77380           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.308    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,300.00
                                                                Check all that apply.
TEXAS CUTTING & CORING, LP                                          Contingent
7705 FM 482                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
NEW BRAUNFELS                          TX       78132           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       1     0    1   3               Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.309    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $38,447.88
                                                                Check all that apply.
TEXAS FIRST RENTALS, LLC                                            Contingent
PO BOX 650869                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75265-0869      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       4     5    7   6               Yes


  3.310    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $26,632.00
                                                                Check all that apply.
TEXAS GLASS & TINTING                                               Contingent
DONALD DAY, INC                                                     Unliquidated
                                                                    Disputed
103 E. MOCKINGBIRD LN., STE B
                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.311    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,060.11
                                                                Check all that apply.
TEXAS MECHANICAL INSULATION                                         Contingent
10907 RED MUSKET TRAIL                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78245           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.312    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,449.00
                                                                Check all that apply.
TEXAS METAL TECH, INC                                               Contingent
12120 BAMMEL NORTH HOUSTON RD                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
HOUSTON                                TX       77066           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.313    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $21,552.25
                                                                Check all that apply.
TEXAS SAFFIRE, LLC                                                  Contingent
14014 PINEHURST LANE                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MAGNOLIA                               TX       77354           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.314    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,714.25
                                                                Check all that apply.
TEXAS SCENIC COMPANY, INC                                           Contingent
PO BOX 680008                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78268-0008      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.315    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,070.00
                                                                Check all that apply.
TEXAS STATE PLUMBING CO                                             Contingent
PO BOX 247                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN MARCOS                             TX       78667           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.316    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $259.80
                                                                Check all that apply.
TEXAS THRONE, LLC                                                   Contingent
PO BOX 997                                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PORTLAND                               TX       78374           Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.317    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $134,938.41
                                                                Check all that apply.
TEXAS TOOL & HARDWARE, INC                                          Contingent
PO BOX 3465                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77903-3465      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     1    6   2               Yes


  3.318    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $79,892.50
                                                                Check all that apply.
TEXAS VA ELECTRICAL, LLC                                            Contingent
217 S RIVER ST, STE M5                                              Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SEGUIN                                 TX       78155           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.319    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,544.20
                                                                Check all that apply.
THE GLASS DESIGNER FAMILY LLC                                       Contingent
5600 N. SCHUERBACH RD                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
MISSION                                TX       78574           Collection Account

Date or dates debt was incurred      9/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.320    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $11,777.60
                                                                Check all that apply.
THOMAS MITCHELL WEBB                                                Contingent
dba BETTER GARDENS IRRIGATION                                       Unliquidated
                                                                    Disputed
502 MEAD RD
                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.321    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,300.00
                                                                Check all that apply.
THYSSENKRUPP ELEVATOR CORP.                                         Contingent
3100 INTERSTATE N, CIRCLE SE                                        Unliquidated
                                                                    Disputed
SUITE 500
                                                                Basis for the claim:
ATLANTA                                GA       30339           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.322    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
TIERRA LINDA INVESTMENTS                                            Contingent
1501 E. MOCKINGBIRD LANE, STE 406                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2013-2016                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.323    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,178.25
                                                                Check all that apply.
TOMAN BROTHERS, INC                                                 Contingent
2307 BANDERA ROAD, STE. 104                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78228           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.324    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $74,543.20
                                                                Check all that apply.
TOMCO, INC                                                          Contingent
3430 COPELAND                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78219           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.325    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $39,374.20
                                                                Check all that apply.
TONNE AIR CONDITIONING & HEATING LTD                                Contingent
718 CANTWELL LANE                                                   Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CORPUS CHRISTI                         TX       78408           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.326    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $353,167.86
                                                                Check all that apply.
TRAVELERS CASUALTY & SURETY CO.                                     Contingent
1500 Market Street                                                  Unliquidated
                                                                    Disputed
29th Floor West Tower (Mail Code 1166)
Philadelphia, PA 19102                                          Basis for the claim:
                                                                Bond

Date or dates debt was incurred      2020                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.327    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
TRAVIS CO. ESD                                                      Contingent
18300 PARK DRIVE                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
JONESTOWN                              TX       78645           Collection Account

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.328    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                          $0.00
                                                                Check all that apply.
TURNER CONSTRUCTION                                                 Contingent
1077 CENTRAL PARKWAY SOUTH                                          Unliquidated
                                                                    Disputed
SUITE 600
                                                                Basis for the claim:
SAN ANTONIO                            TX       78232           Collection Account

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.329    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $34.24
                                                                Check all that apply.
UNITED PARCEL SERVICE                                               Contingent
PO BOX 7247-0244                                                    Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PHILADELPHIA                           PA       19170-0001      Collection Account

Date or dates debt was incurred      2/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     2    2   W               Yes


  3.330    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,289.59
                                                                Check all that apply.
UNITED RENTALS (NA), INC. - RSC                                     Contingent
PO BOX 840514                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75284-0514      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       6     4    7   6               Yes


  3.331    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $341.84
                                                                Check all that apply.
UNITED SITE SERVICES OF TEXAS                                       Contingent
PO BOX 660475                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75266-0475      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     3    0   4               Yes


  3.332    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,000.00
                                                                Check all that apply.
URBAN SURVEYING, INC                                                Contingent
2004 N. COMMERCE ST                                                 Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77901-5510      Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.333    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $276,124.75
                                                                Check all that apply.
VALLEY SO. TX. INTERIORS, INC                                       Contingent
219 S. NEBRASKA                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN JUAN                               TX       78589           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.334    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,715.76
                                                                Check all that apply.
VANGUARD FIRE SYSTEMS, LP                                           Contingent
2340 PATTERSON INDUSTRIAL DR                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
PFLUGERVILLE                           TX       78660           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.335    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,365.00
                                                                Check all that apply.
VARNI ROOFING, INC                                                  Contingent
1448 S. STATE HWY 46                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
NEW BRAUNFELS                          TX       78130           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.336    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,640.00
                                                                Check all that apply.
VAZQUEZ, VICENTE                                                    Contingent
dba V VAZQUEZ PAINTING                                              Unliquidated
                                                                    Disputed
5963 PADRE DR
                                                                Basis for the claim:
SAN ANTONIO                            TX       78214           Collection Account

Date or dates debt was incurred      6/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.337    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $93,619.59
                                                                Check all that apply.
VCS SECURITY SYSTEMS, INC                                           Contingent
302 KERH BLVD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.338    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,798.50
                                                                Check all that apply.
VERASTEGUI, JUAN                                                    Contingent
dba JV CONTRACTING                                                  Unliquidated
                                                                    Disputed
2108 PLEASANT GREEN
                                                                Basis for the claim:
VICTORIA                               TX       77901           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.339    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $51,482.21
                                                                Check all that apply.
VICTORIA AIR CONDITIONING LTD                                       Contingent
200 S. BEN JORDAN ST.                                               Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77901-8649      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.340    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $153.88
                                                                Check all that apply.
VICTORIA COMMUNICATION SERVICES, INC                                Contingent
302 KERH BLVD                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77904           Collection Account

Date or dates debt was incurred      11/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.341    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $118,747.70
                                                                Check all that apply.
VILLA, JUAN F                                                       Contingent
dba VILLA'S DRYWALL                                                 Unliquidated
                                                                    Disputed
642 W. PYRON
                                                                Basis for the claim:
SAN ANTONIO                            TX       78221           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.342    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $9,950.00
                                                                Check all that apply.
VILLARREAL, MEDARDO                                                 Contingent
dba STI COOLING & HEATING                                           Unliquidated
                                                                    Disputed
5220 N. INSPIRATION RD
                                                                Basis for the claim:
MISSION                                TX       78573           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.343    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $201.50
                                                                Check all that apply.
VILLEGAS, ISAIAS                                                    Contingent
dba CHALKLINE STRIPING                                              Unliquidated
                                                                    Disputed
PO BOX 1712
                                                                Basis for the claim:
PHARR                                  TX       78577           Collection Account

Date or dates debt was incurred      5/2019                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.344    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,321.05
                                                                Check all that apply.
VISUAL SOLUTIONS                                                    Contingent
403 E. RAMSEY RD., STE. 108                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78216           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.345    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,740.34
                                                                Check all that apply.
W.S. STEEL ERECTION, LLC                                            Contingent
PO BOX 593497                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78259-3497      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.346    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $29,130.56
                                                                Check all that apply.
WALLACE ELECTRIC SERVICES, LLC                                      Contingent
PO BOX 1643                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
GONZALES                               TX       78629           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.347    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,327.83
                                                                Check all that apply.
WASTE MANAGEMENT OF TEXAS                                           Contingent
PO BOX 660345                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
DALLAS                                 TX       75266-0345      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.348    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,636.95
                                                                Check all that apply.
WATERLOO PLASTERING INC                                             Contingent
PO BOX 342252                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
AUSTIN                                 TX       78734           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.349    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,703.50
                                                                Check all that apply.
WESTERN STATES FIRE PROTECTION                                      Contingent
141 WINDY MEADOWS DR                                                Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SCHERTZ                                TX       78154           Collection Account

Date or dates debt was incurred      2018                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.350    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $33,880.53
                                                                Check all that apply.
WEX BANK                                                            Contingent
PO BOX 4337                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CAROL STREAM                           IL       60197-4337      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       0     2    2   1               Yes


  3.351    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $53,550.22
                                                                Check all that apply.
WHEELER, WILLIAM W                                                  Contingent
dba GW WHEELER & SONS PLUMBERS, LLC                                 Unliquidated
                                                                    Disputed
504 E. SANTA ROSA
                                                                Basis for the claim:
VICTORIA                               TX       77901           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.352    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,620.44
                                                                Check all that apply.
WHISPERING CREEK VILLAS                                             Contingent
5303 HAMILTON WOLFE RD.                                             Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78229-4419      Collection Account

Date or dates debt was incurred      2/2020                     Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       2     5    8   0               Yes




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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.353    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $191.25
                                                                Check all that apply.
WHP TRAINING TOWERS                                                 Contingent
9130 FLINT ST                                                       Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
OVERLAND PARK                          KS       66214           Collection Account

Date or dates debt was incurred      12/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.354    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $156,649.00
                                                                Check all that apply.
WILLIAM COLE LEINNEWEBER                                            Contingent
dba CL CONCRETE                                                     Unliquidated
                                                                    Disputed
1105 QUAIL RUN
                                                                Basis for the claim:
SAN MARCOS                             TX       78666           Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.355    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,062.58
                                                                Check all that apply.
WILLIAMS SCOTSMAN, INC                                              Contingent
PO BOX 91975                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
CHICAGO                                IL       60693-1975      Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     2    6   1               Yes


  3.356    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $768,422.12
                                                                Check all that apply.
WORKPLACE RESOURCE, LLC                                             Contingent
4400 NE LOOP 410, STE. 130                                          Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78218           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes




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Debtor       Don Krueger Construction Co.                                           Case number (if known)      20-60023

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.357    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $414.96
                                                                Check all that apply.
WORLDWIDE PEST CONTROL, INC                                         Contingent
5808 IH 10 W                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
SAN ANTONIO                            TX       78210           Collection Account

Date or dates debt was incurred      2019                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.358    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,350.00
                                                                Check all that apply.
YORK METAL FABRICATORS, INC                                         Contingent
PO BOX 18149                                                        Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
OKLAHOMA CITY                          OK       73154-8149      Collection Account

Date or dates debt was incurred      2017                       Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.359    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $39,300.00
                                                                Check all that apply.
Z FLOOR CO., LTD                                                    Contingent
350 BETCHAN AVE                                                     Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
LAKE DALLAS                            TX       75065           Collection Account

Date or dates debt was incurred      10/2019                    Is the claim subject to offset?
                                                                     No
Last 4 digits of account number                                      Yes


  3.360    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $575.92
                                                                Check all that apply.
ZARSKY LUMBER COMPANY, INC                                          Contingent
PO BOX 2527                                                         Unliquidated
                                                                    Disputed

                                                                Basis for the claim:
VICTORIA                               TX       77902-2527      Collection Account

Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     No
Last 4 digits of account number       7     3    1   0               Yes




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Debtor        Don Krueger Construction Co.                                                 Case number (if known)   20-60023

 Part 3:       List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
      listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages
      are needed, copy the next page.

         Name and mailing address                                              On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                               related creditor (if any) listed?               account number,
                                                                                                                               if any

4.1      BETHANY F. BECK                                                       Line     3.218
         SANDERFORD & CARROLL, PC                                                     Not listed. Explain:
         1100 NE LOOP 410, SUITE 550


         SAN ANTONIO                   TX      78209


4.2      BRAD GASWIRTH                                                         Line     3.299
         CANTERBURY GOOCH SURRATT SHAPIRO STEIN                                       Not listed. Explain:
         GASWIRTH & JONES, P.C.
         4851 LBJ FREEWAY, SUITE 301
         DALLAS                        TX      75244


4.3      BRUCE NEYLAND                                                         Line     3.324
         ATTORNEY AT LAW                                                              Not listed. Explain:
         INDEPENDENCE PLAZA II
         14350 NORTHBROOK DRIVE, SUITE 150
         SAN ANTONIO                   TX      78232


4.4      CASEY CULLEN                                                          Line     3.337
         CULLEN, CARSNER, SEERDEN, & CULLEN LLP                                       Not listed. Explain:
         PO BOX 2938


         VICTORIA                      TX      77902-2938


4.5      CIANO PASTA                                                           Line     3.219
         ATTORNEY AT LAW                                                              Not listed. Explain:
         1800 ST. JAMES PLACE, SUITE 200


         HOUSTON                       TX      77056


4.6      COATS ROSE, P.C.                                                      Line
         C/O BEN L. ADERHOLT                                                          Not listed. Explain:
         9 GREENWAY PLAZA, SUITE 1000                                                 Notice Only


         HOUSTON                       TX      77046




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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.7      CODY HENSON                                                 Line     3.188
         HENSON & ROCKAFELLOW, PLLC                                         Not listed. Explain:
         117 E JACKSON ST


         BURNET                     TX    78611


4.8      CODY LEWIS                                                  Line     3.247
         HAYES BERRY WHITE VANZANT                                          Not listed. Explain:
         512 W HICKORY ST., SUITE 100


         DENTON                     TX    76201


4.9      Consolidated Electrical Distributors, In                    Line      3.73
         Education Service Center - Reg 20                                  Not listed. Explain:
         PO BOX 3626


         Victoria                   TX    77903


4.10     CRYSTAL P SMITH                                             Line     3.175
         SANDERFORD & CARROLL, P.C                                          Not listed. Explain:
         1100 NE LOOP 410, SUITE 550


         SAN ANTONIO                TX    78209


4.11     EDGAR GARCIA, ESQ.                                          Line     3.164
         GARCIA LAW FIRM, PLLC                                              Not listed. Explain:
         THE BROOKHOLLOW ATRIUM
         1000 CENTRAL PARKWAY N, SUITE 100
         SAN ANTONIO                TX    78232


4.12     ERIC CLINTON                                                Line     3.317
         SPROUSE SHRADER SMITH PLLC                                         Not listed. Explain:
         701 S TAYLOR, SUITE 500
         PO BOX 15008
         AMARILLO                   TX    79105-5008


4.13     ERROL J. DIETZE                                             Line      3.92
         DIETZE & REESE LLP                                                 Not listed. Explain:
         PO BOX 841


         CUERO                      TX    77954




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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.14     ESPINOZA LAW FIRM PLLC                                      Line     3.356
         C/O JAVIER ESPINOZA                                                Not listed. Explain:
         10202 HERITAGE BLVD.


         SAN ANTONIO                TX    78216


4.15     HOWARD MAREK                                                Line     3.320
         MAREK, GRIFFIN & KNAUPP                                            Not listed. Explain:
         PO BOX 2329


         VICTORIA                   TX    77902-2329


4.16     HOWARD MAREK                                                Line     3.255
         MAREK, GRIFFIN & KNAUPP                                            Not listed. Explain:
         PO BOX 2329


         VICTORIA                   TX    77902-2329


4.17     HOWARD MAREK                                                Line     3.250
         MAREK, GRIFFIN & KNAUPP                                            Not listed. Explain:
         PO BOX 2329


         VICTORIA                   TX    77902-2329


4.18     IAN T. TODD                                                 Line     3.242
         SNEED, VINE & PERRY                                                Not listed. Explain:
         108 EAST 8TH STREET


         GEORGETOWN                 TX    78626


4.19     J. BAIRD SMITH                                              Line     3.259
         NAMAN, HOWELL, SMITH, & LEE PLLC                                   Not listed. Explain:
         8310 N CAPITAL OF TEXAS HWY, SUITE 490


         AUSTIN                     TX    78731


4.20     JOE VIRENE                                                  Line     3.121
         GRAY REED                                                          Not listed. Explain:
         1300 POST OAK BLVD., SUITE 2000


         HOUSTON                    TX    77056




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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.21     JOHN S. WARREN                                              Line     3.266
         WARREN, DRUGAN, & BARROWS P.C.                                     Not listed. Explain:
         606 NORTH CARANCAHUA ST., SUITE 601


         CORPUS CHRISTI             TX    78401


4.22     JONATHAN MARSHALL                                           Line     3.204
         LOVEIN RIBMAN PC                                                   Not listed. Explain:
         1225 MAIN STREET, SUITE 200


         GRAPEVINE                  TX    76051


4.23     JOSE GAMEZ                                                  Line     3.251
         DONNELL, KIESCHNICK, WOLTER & GAMEZ P.C.                           Not listed. Explain:
         WELLS FARGO BANK BUILDING
         2830 WEST TRENTON
         EDINBURG                   TX    78539


4.24     JOSEPH A. GARNETT                                           Line     3.141
         SHEEHY WARE PAPPAS                                                 Not listed. Explain:
         909 FANNIN STREET
         SUITE 2500
         HOUSTON                    TX    77010


4.25     JOSEPH, MANN & CREED                                        Line     3.156
         8948 CANYON FALLS BLVD, SUITE 200                                  Not listed. Explain:




         TWINSBURG                  OH    44087


4.26     JOSH CONDON                                                 Line     3.175
         CONDON LAW, PLLC                                                   Not listed. Explain:
         11675 JOLLYVILLE ROAD, SUITE 209


         AUSTIN                     TX    78759


4.27     JUSTIN J. DERTINGER                                         Line     3.292
         PLUNK SMITH, PLLC                                                  Not listed. Explain:
         1701 LEGACY DRIVE, SUITE 2000


         FRISCO                     TX    75034




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 95
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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.28     KEITH MILLER                                                Line     3.160
         LAW OFFICES OF KEITH P MILLER                                      Not listed. Explain:
         14350 NORTHBROOK, SUITE 150


         SAN ANTONIO                TX    78232


4.29     Krebs Farley & Dry, PLLC                                    Line     3.326
         909 18th Street                                                    Not listed. Explain:




         Plano                      TX    75074


4.30     LAW OFFICES OF MOLLY P. THOMAS                              Line      3.21
         PO BOX 37                                                          Not listed. Explain:




         SINTON                     TX    78387


4.31     MARK MURPHY                                                 Line     3.354
         DAVIS/SANTOS                                                       Not listed. Explain:
         719 S FLORES ST


         SAN ANTONIO                TX    78204


4.32     Matthews, Shiels et al.                                     Line
         Misti Beanland                                                     Not listed. Explain:
         8131 LBJ Freeway, Suite 700                                        Notice Only


         Dallas                     TX    75251


4.33     MELODEE GRUBER                                              Line      3.98
         GRUBER LAW FIRM PLLC                                               Not listed. Explain:
         1115 17TH ST.


         HONDO                      TX    78861


4.34     MICHAEL A. JOHNSON, P.C                                     Line      3.61
         5606 N NAVARRO ST. SUITE 200                                       Not listed. Explain:




         VICTORIA                   TX    77904




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 96
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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.35     MISTI BEANLAND                                              Line      3.73
         MATTHEWS, SHIELS, KNOTT, EDEN, DAVIS,&                             Not listed. Explain:
         BEANLAND, LLP
         8131 LBJ FREEWAY, SUITE 700
         DALLAS                     TX    75251


4.36     NATALYA S. SHEDDAN                                          Line       3.2
         ALLENSWORTH & PORTER LLP                                           Not listed. Explain:
         100 CONGRESS AVE., SUITE 700


         AUSTIN                     TX    78701


4.37     NATIONAL CREDIT SYSTEMS INC                                 Line     3.352
         PO BOX 312125                                                      Not listed. Explain:




         ATLANTA                    GA    31131-2125


4.38     PAUL WILSON, ESQ                                            Line     3.333
         PR WILSON LAW FIRM P.C                                             Not listed. Explain:
         323 W. CANO ST., 2ND FLOOR


         EDINBURG                   TX    78539


4.39     PROFESSIONAL DEBT MEDIATION INC.                            Line     3.199
         7948 BAYMEADOWS WAY, 2ND FLOOR                                     Not listed. Explain:




         JACKSONVILLE               FL    32256-7518


4.40     R. CARSON FISK                                              Line     3.195
         ANDREWS MYERS                                                      Not listed. Explain:
         919 CONGRESS AVE. SUITE 1050


         AUSTIN                     TX    78701


4.41     R. WES JOHNSON                                              Line       3.4
         GARNDER LAW                                                        Not listed. Explain:
         745 EAST MULBERRY AVE., SUITE 500


         SAN ANTONIO                TX    78212-3154




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 97
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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.42     RECEIVABLES CONTROL CORP                                    Line      3.42
         7373 KIRKWOOD COURT, SUITE 200                                     Not listed. Explain:




         MINNEAPOLIS                MN    55369


4.43     REX ZGARBA                                                  Line     3.133
         COATS ROSE                                                         Not listed. Explain:
         TERRACE2, 2700 VIA FORTUNA, SUITE 350


         AUSTIN                     TX    78746


4.44     RICHARD WALLACE III, PARTNER                                Line     3.107
         SCHEEF & STONE                                                     Not listed. Explain:
         500 NORTH AKARD, SUITE 2700


         DALLAS                     TX    75201


4.45     ROBERT ALEX BASS                                            Line     3.178
         MICHALK, BEATTY & ALCOZER LP                                       Not listed. Explain:
         3106 SOUTH W.S. YOUNG
         BUILDING D, SUITE 401
         KILLEEN                    TX    76542


4.46     RYAN C. SOLIS                                               Line      3.85
         LAW OFFICE OF RYAN C. SOLIS PLLC                                   Not listed. Explain:
         1410 WEST DOVE AVE


         MCALLEN                    TX    78504


4.47     S. ROBERT FLING                                             Line     3.295
         ATTORNEY AT LAW PLLC                                               Not listed. Explain:
         PO BOX 411


         KATY                       TX    77492


4.48     SAM DRUGAN                                                  Line     3.249
         WARREN, DRUGAN, & BARROWS P.C.                                     Not listed. Explain:
         800 BROADWAY ST., SUITE 200


         SAN ANTONIO                TX    78215-1241




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 98
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Debtor       Don Krueger Construction Co.                                        Case number (if known)   20-60023

 Part 3:      Additional Page for Others to Be Notified About Unsecured Claims

         Name and mailing address                                    On which line in Part 1 or Part 2 is the        Last 4 digits of
                                                                     related creditor (if any) listed?               account number,
                                                                                                                     if any

4.49     SEAN B. McNELIS                                             Line     3.303
         MCNEILIS & ASSOCIATES                                              Not listed. Explain:
         143 W SUNSET ROAD, SUITE 200


         SAN ANTONIO                TX    78209


4.50     SYNTER RESOURCE GROUP LLC                                   Line     3.117
         PO BOX 63247                                                       Not listed. Explain:




         NORTH CHARLESTON           SC    29419-3247


4.51     TED HOLLEN                                                  Line     3.189
         THE CASEY PROFESSIONAL BUILDING                                    Not listed. Explain:
         20624 FM 1431, SUITE 9


         LAGO VISTA                 TX    78645


4.52     THOMAS WALTHALL, JR                                         Line     3.341
         SANDERFORD & CARROLL, P.C                                          Not listed. Explain:
         1100 NE LOOP 410, SUITE 550


         SAN ANTONIO                TX    78209


4.53     TREVOR G. GREEN PLLC                                        Line      3.35
         5920 W WILLIAM CANNON DRIVE BLDG 6, SUIT                           Not listed. Explain:




         AUSTIN                     TX    78749


4.54     WILLIAM SOMMERS                                             Line      3.87
         LANGLEY & BANACK INC                                               Not listed. Explain:
         745 EAST MULBERRY, STE 700


         SAN ANTONIO                TX    78212-3166




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                     page 99
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Debtor      Don Krueger Construction Co.                                      Case number (if known)      20-60023

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                        $0.00

5b. Total claims from Part 2                                                              5b.   +         $15,848,840.09


5c. Total of Parts 1 and 2                                                                5c.             $15,848,840.09
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 100
                Case 20-60023 Document 29 Filed in TXSB on 05/07/20 Page 110 of 180


 Fill in this information to identify the case:
 Debtor name         Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         20-60023                                 Chapter       7                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Building and Lot Lease                          Elegant Limo
          or lease is for and the
                                                                                        1508 N Ben Jordan Street
          nature of the debtor's
          interest

          State the term remaining      Month to Month
          List the contract
          number of any
                                                                                       Victoria                            TX            77901
          government contract

2.2       State what the contract       Surety Bond in favor of Debtor.                 Travelers Casualty & Surety Co.
          or lease is for and the
                                                                                        1500 Market Street
          nature of the debtor's
          interest                                                                      29th Floor West Tower (Mail Code 1166)
                                                                                        Philadelphia, PA 19102
          State the term remaining      Unknown
                                                                                        Attn: Joshua M. Pantesco
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify the case:
 Debtor name         Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         20-60023                                                                                       Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Kevin and Amy Krueger           2 Vantage Point                                        TRAVELERS CASUALTY                    D
                                       Number      Street                                     & SURETY CO.                          E/F
                                                                                                                                    G

                                       New Braunfels                  TX      78130
                                       City                           State   ZIP Code


2.2    Kevin Krueger                   2 Vantage Point                                        NEWFIRST NATIONAL                     D
                                       Number      Street                                     BANK                                  E/F
                                                                                                                                    G

                                       New Braunfels                  TX      78130
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
                    Case 20-60023 Document 29 Filed in TXSB on 05/07/20 Page 112 of 180


 Fill in this information to identify the case:


 Debtor Name Don Krueger Construction Co.

 United States Bankruptcy Court for the:                   SOUTHERN DISTRICT OF TEXAS

 Case number (if known): 20-60023                                                                                                                                                   Check if this is an
                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



 Part 1:           Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                     $751,650.00
         Copy line 88 from Schedule A/B........................................................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                $9,428,507.96
         Copy line 91A from Schedule A/B........................................................................................................................................................................

     1c. Total of all property
                                                                                                                                                                               $10,180,157.96
         Copy line 92 from Schedule A/B........................................................................................................................................................................


 Part 2:           Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D......................................................                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                 $0.00
         Copy the total claims from Part 1 from line 5a of Schedule E/F.........................................................................................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                              + $15,848,840.09
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............................................................................................................................


4.   Total liabilities
     Lines 2 + 3a + 3b........................................................................................................................................................................$15,848,840.09




Official Form 206Sum                                         Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case and this filing:
 Debtor Name         Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number         20-60023
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:


                 Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                 Amended Schedule

                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                 Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 05/07/2020                       X /s/ Kevin R. Krueger
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Kevin R. Krueger
                                                             Printed name
                                                             President
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
                  Case 20-60023 Document 29 Filed in TXSB on 05/07/20 Page 114 of 180


 Fill in this information to identify the case:
 Debtor name        Don Krueger Construction Co.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        20-60023
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

         None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                         Operating a business
                                From    10/01/2019      to   Filing date
fiscal year to filing date:                                                       Other                                        $7,253,301.00
                                       MM / DD / YYYY

                                                                                  Operating a business
For prior year:                 From    10/01/2018      to     09/30/2019
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                       $63,576,590.00

                                                                                  Operating a business
For the year before that:       From    10/01/2017      to     09/30/2018
                                       MM / DD / YYYY        MM / DD / YYYY       Other                                       $52,561,481.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    10/01/2019      to   Filing date       Interest & Dividend Income                            $25,237.00
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    10/01/2018      to     09/30/2019      Interest & Dividend Income                           $138,202.00
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    10/01/2017      to     09/30/2018      Interest & Dividend Income                           $133,000.00
                                       MM / DD / YYYY        MM / DD / YYYY




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor         Don Krueger Construction Co.                                            Case number (if known)    20-60023
               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.1. Langley Construction Group                               1/10/2020            $115,805.00               Secured debt
      Creditor's name
      717 N. Water Street                                                                                    Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Burnet                          Tx      78611                                                          Other Subcontractor
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.2. Joe S. Elliott dba South Texas Eco Foam                  1/10/2020             $28,996.37               Secured debt
      Creditor's name
      4848 FM 3355                                                                                           Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Beeville                        Tx      78102                                                          Other Subcontractor
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.3. Expert Air Refrigeration Services LLC                    01/10/2020            $58,409.89               Secured debt
      Creditor's name
      PO BOX 5453                                                                                            Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Round Rock                      TX      78683                                                          Other Subcontractor
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.4. Fred Tillman Contractors Inc.                            01/10/2020            $28,158.00               Secured debt
      Creditor's name
      7011 W Bee Cave Rd                                                                                     Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Austin                          TX      78746                                                          Other Subcontractor
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.5. Jacob Lantz dba Lantz's Lakeside Plumbin                 01/10/2020            $17,846.26               Secured debt
      Creditor's name
      PO BOX 4462                                                                                            Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Lago Vista                      TX      78645                                                          Other Subcontractor
      City                            State   ZIP Code

      Creditor's name and address                             Dates            Total amount or value     Reasons for payment or transfer
                                                                                                         Check all that apply
3.6. Prodirt Services LLC                                     01/10/2020            $19,000.00               Secured debt
      Creditor's name
      PO BOX 1508                                                                                            Unsecured loan repayments
      Street                                                                                                 Suppliers or vendors
                                                                                                             Services
      Pflugerville                    TX      78691                                                          Other Subcontractor
      City                            State   ZIP Code



Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Don Krueger Construction Co.                                       Case number (if known)   20-60023
               Name

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
 3.7. Red Dot Building Systems                            01/10/2020           $21,007.82              Secured debt
      Creditor's name
      1209 W. Corsicana Street                                                                         Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Athens                        TX      75751                                                      Other Subcontractor
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
 3.8. D&M Owens Inc.                                      01/13/2020           $18,067.56              Secured debt
      Creditor's name
      PO BOX 311353                                                                                    Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      New Braunfels                 TX      79131                                                      Other Subcontractor
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
 3.9. JD Kunz Concrete Contractor, Inc.                   01/13/2020           $49,162.50              Secured debt
      Creditor's name
      PO BOX 310419                                                                                    Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      New Braunfels                 TX      78131                                                      Other Subcontractor
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.10. Victoria Oliver Co Inc.                             01/28/2020           $10,067.05              Secured debt
      Creditor's name                                     02/26/2020
      2303 N Main Street                                                                               Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Victoria                      TX      77901                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.11. Collision Country Repair Center LLC                 01/28/2020           $15,210.38              Secured debt
      Creditor's name
      4282 I10 East                                                                                    Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      San Antonio                   TX      78219                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.12. Frost Insurance Agency Inc.                         01/30/2020           $56,588.35              Secured debt
      Creditor's name                                     02/11/2020
      PO BOX 2625                                                                                      Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Victoria                      TX      77902                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.13. Victoria County Tax Assessor Collector              01/28/2020           $62,926.75              Secured debt
      Creditor's name
      PO BOX 2569                                                                                      Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Victoria                      TX      77902                                                      Other Property Taxes
      City                          State   ZIP Code




Official Form 207               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 3
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Debtor         Don Krueger Construction Co.                                       Case number (if known)   20-60023
               Name

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.14. Texas Mutual Insurance Co.                          01/25/2020           $24,511.00              Secured debt
      Creditor's name                                     01/28/2020
      PO BOX 841943                                                                                    Unsecured loan repayments
                                                          02/17/2020
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      Dallas                        TX      75284                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.15. Columbia Electric Supply                            01/10/2020           $32,733.12              Secured debt
      Creditor's name                                     02/13/2020
      8610 Broadway, Ste 200                                                                           Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      San Antonio                   TX      78217                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.16. Frost Bank                                          03/04/2020         $1,004,372.21             Secured debt
      Creditor's name
      PO Box 1600                                                                                      Unsecured loan repayments
      Street                                                                                           Suppliers or vendors
                                                                                                       Services
      San Antonio                   TX      78296                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.17. Prosperity Bank                                     01/13/2020;        $1,421,665.01             Secured debt
      Creditor's name                                     01/14/2020;
      Victoria Loan Operations                                                                         Unsecured loan repayments
                                                          and
      Street                                                                                           Suppliers or vendors
      1205 N Navarro Street                               01/17/2020
                                                                                                       Services
      Victoria                      TX      77901                                                      Other
      City                          State   ZIP Code

      Creditor's name and address                         Dates           Total amount or value    Reasons for payment or transfer
                                                                                                   Check all that apply
3.18. New First National Bank                             01/06/2020;          $78,531.63              Secured debt
      Creditor's name                                     01/10/2020;
      N. W. Zac Lentz Parkway                                                                          Unsecured loan repayments
                                                          01/31/2020;
      Street                                                                                           Suppliers or vendors
                                                          02/04/2020;
                                                          02/05/2020;                                  Services
      Victoria                      TX      77901         02/10/2020;                                  Other
      City                          State   ZIP Code      03/05/2020;
                                                          03/10/2020;
                                                          04/06/2020;
                                                          and
                                                          04/10/2020




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Debtor         Don Krueger Construction Co.                                                 Case number (if known)      20-60023
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


         None

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
4.1. Kevin Krueger                                                All payrolls          $315,000.00            Regular Payroll; 1099 Payments
      Insider's name                                              dated                                        to Assist Travelers with Bond
      2 Vantage Pt                                                04/10/2019-                                  Claims & Clean out offices and
      Street
                                                                  01/10/2020                                   shop
                                                                  02/10/2020
      New Braunfels                     TX      78130             02/20/2020
      City                              State   ZIP Code
                                                                  03/26/2020
      Relationship to debtor
      Shareholder, Director, & Officer

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
4.2. Tracy Krueger                                                All payrolls           $66,000.00            Regular Payroll; 1099 Payments
      Insider's name                                              dated                                        to Assist Travelers with Bond
      405 Shiloh
      Street
                                                                  4/10/2019-                                   Claims & Clean out offices and
                                                                  01/10/2020                                   shop

      Victoria                          TX      77905
      City                              State   ZIP Code

      Relationship to debtor
      Director & Officer

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
4.3. Lester Colley                                                All payrolls          $116,750.00            Regular Payroll & Board of
      Insider's name                                              dated                                        Director Fees 2019
      770 Westpark Ave.                                           04/10/2019-
      Street
                                                                  01/10/2020

      Victoria                          TX      77905
      City                              State   ZIP Code

      Relationship to debtor
      Director & Officer

      Insider's name and address                                  Dates            Total amount or value       Reasons for payment or transfer
4.4. Christopher Carrillo                                         All payrolls           $88,620.00            Regular Payroll; 1099 payments
      Insider's name                                              dated                                        to assist Travelers with Bond
      2161 Hazelwood Drive
      Street
                                                                  04/10/2029-                                  Claims
                                                                  01/10/2020;
                                                                  02/03/2020;
      New Braunfels                     TX      78130             02/10/2020;
      City                              State   ZIP Code
                                                                  02/20/2020
      Relationship to debtor
      Director & Officer




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Debtor         Don Krueger Construction Co.                                                    Case number (if known)     20-60023
               Name

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.

         None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.

         None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.

         None

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. Alanis v. Bartlett Cocke                Injury                                     150th District Court of Bexar County, TX
                                                                                                                                              Pending
     General Contractors, LLC                                                           Name
     and KGS Electric Company                                                           Bexar County Courthouse                               On appeal
                                                                                        Street
                                                                                                                                              Concluded
                                                                                        100 Dolorosa, 2nd Floor, Rm 2.23
      Case number
      2020-CI-04363                                                                     San Antonio               TX      78205
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.2. Citymark Church v. Don                  Breach of Contract                         10th District Court of Galveston Co., TX
                                                                                                                                              Pending
      Krueger Construction Co et                                                        Name
      al.                                                                               600 59th Street, Suite 4305                           On appeal
                                                                                        Street
                                                                                                                                              Concluded

      Case number
      20-CV-0519                                                                        Galveston                 TX      77551-4196
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.3. D&F Industries, Inc. v. Don             Breach of Contract                         139th District Court of Hidalgo Co., TX
                                                                                                                                              Pending
     Krueger Construction Co.                                                           Name
                                                                                        100 N. Closner                                        On appeal
                                                                                        Street
                                                                                                                                              Concluded

      Case number
      C-1036-20-C                                                                       Edinburg                  TX      78539
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.4. Elliott Electric Supply v. Don          Breach of Contract                         27th Disctrict Court of Lampasas Co., TX
                                                                                                                                              Pending
      Krueger Construction Co. et                                                       Name
      al.                                                                               409S. Pecan Street #204                               On appeal
                                                                                        Street
                                                                                                                                              Concluded

      Case number
      21703                                                                             Lampasas                  TX      76550
                                                                                        City                      State   ZIP Code




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Debtor       Don Krueger Construction Co.                                            Case number (if known)    20-60023
             Name

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.5. Graybar Electric Company,         Breach of Contract                    92nd District Court of HIdalgo Co., TX
                                                                                                                             Pending
      Inc. v. D&F Industries et al.                                           Name
                                                                              100 N. Closner                                 On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      C-1269-20-A                                                             Edinburg                 TX      78539
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.6. Malek, Inc. v. Don Krueger        Breach of Contract                    156th District Ct of San Patricio Co. TX
                                                                                                                             Pending
      Construction Co. et al                                                  Name
                                                                              P.O. Box 700                                   On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      S-20-5065CV-B                                                           Sinton                   TX      78387
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.7. VA Electrical Contractors,        Breach of Contract                    335th District Ct of Bastrop County, TX
                                                                                                                             Pending
      LLC v. Don Krueger                                                      Name
      Construction Co. et al.                                                 804 Pecan Street                               On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      1500-335                                                                Bastrop                  TX      78602
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.8. Workplace Resource, LLC v.        Breach of Contract                    377th District Court of Victoria Co., TX
                                                                                                                             Pending
      Don Krueger Construction                                                Name
      Co.                                                                     101 N. Bridge Street                           On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      20-02-85420-D                                                           Victoria                 TX      77901
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
 7.9. TRC-The Best Alarm, Inc. v.       Suit on Bond; Breach of               218th District Court of Frio County, TX
                                                                                                                             Pending
      Gallagher Construction            Contract - Monies Owed on             Name
      Company, LP et al.                Project                               500 East San Antonio St.                       On appeal
                                                                              Street
                                                                                                                             Concluded

      Case number
      18-01-00006CVF                                                          Pearsall                 TX      78061
                                                                              City                     State   ZIP Code

      Case title                        Nature of case                        Court or agency's name and address          Status of case
7.10. The City of Portland vs.          Construction Defects                  156th District Court, San Patricio Count
                                                                                                                             Pending
      Gignac & Associates, LLP                                                Name
      and Don Krueger                                                         PO Box 1084                                    On appeal
      Construction Co.                                                        Street
                                                                                                                             Concluded

      Case number
      S-16-6151CV-B                                                           Sinton                   TX      78387
                                                                              City                     State   ZIP Code




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Debtor       Don Krueger Construction Co.                                          Case number (if known)    20-60023
             Name

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.11. San Diego ISD vs. Don           Construction Defects                  229th District Court, Duval County
                                                                                                                           Pending
      Krueger Construction Co.                                              Name
                                                                            PO Drawer 428                                  On appeal
                                                                            Street
                                                                                                                           Concluded

      Case number
      DC-15-217                                                             San Diego                TX      78384
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.12. Three Rivers ISD vs. DSA,       Breach of Contract and Breach         156th Judicial District Live Oak County
                                                                                                                           Pending
      Inc. et al.                     of Warranty                           Name
                                                                            301 Houston St., Room 202                      On appeal
                                                                            Street
                                                                                                                           Concluded
                                                                            PO Box 440
      Case number
      L-18-0040-CV-B                                                        George West              TX      78022
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.13. Tierra Linda Investments        Construction Defects; Breach          377th District Court of Victoria County
                                                                                                                           Pending
      LLC vs. Don Krueger             of Contract; and Breach of            Name
      Construction Co.                Warranty                              115 N Bridge, Room 330                         On appeal
                                                                            Street
                                                                                                                           Concluded

      Case number
      19-03-84216-D                                                         Victoria                 TX      77901
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.14. Kingsville ISD vs. Don          Construction Defects                  105th Judicial District Kleberg County
                                                                                                                           Pending
      Krueger Construction Co. et                                           Name
      al.                                                                   PO BOX 312                                     On appeal
                                                                            Street
                                                                                                                           Concluded

      Case number
      19-561-D                                                              Kingsville               TX      78364
                                                                            City                     State   ZIP Code

      Case title                      Nature of case                        Court or agency's name and address          Status of case
7.15. GJ Sanchez Painting vs. Don     Breach of Contract; Failure to        343rd Judicial District Aransas County
                                                                                                                           Pending
      Krueger Construction Co.        Pay for Work Performed                Name
                                                                            2840 Hwy 35 N                                  On appeal
                                                                            Street
                                                                                                                           Concluded

      Case number
                                                                            Rockport                 TX      78382
                                                                            City                     State   ZIP Code




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Debtor         Don Krueger Construction Co.                                                Case number (if known)     20-60023
               Name

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

         None

 Part 4:        Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

      Recipient's name and address                        Description of the gifts or contributions             Dates given         Value
9.1. The Downtown Rotary Club of New Braunfel
                                          Table Sponsorship for Wild Game                                       08/23/2019             $12,000.00
      Recipient's name                                    Dinner/Auction Purchare                               09/20/2019
      1656 W State Hwy 46
      Street


      New Braunfels                 TX      78132
      City                          State   ZIP Code

      Recipient's relationship to debtor
      None

      Recipient's name and address                        Description of the gifts or contributions             Dates given         Value
9.2. South Texas Council, CC, TX Boy Scouts BSA Distinguished Award Dinner                                      12/10/2018              $1,200.00
      Recipient's name                                    Sponsorship
      700 Everhart Rd, Bldg. A
      Street


      Corpus Christi                TX      78411
      City                          State   ZIP Code

      Recipient's relationship to debtor
      None

      Recipient's name and address                        Description of the gifts or contributions             Dates given         Value
9.3. Victoria Symphony Society Inc.                       Underwriter for Cheers to 45 Years Wine               04/09/2019              $3,000.00
      Recipient's name                                    Dinner & Sponsorship of Peter & The                   05/18/2018
      405 E Loma Vista
      Street
                                                          Wolf Performance


      Victoria                      TX      77901
      City                          State   ZIP Code

      Recipient's relationship to debtor
      None

      Recipient's name and address                        Description of the gifts or contributions             Dates given         Value
9.4. Majesty Outdoors                                     Table Sponsor for Hope Gala                           05/01/2018             $17,000.00
      Recipient's name                                    2018/Auction Items 2018 Gala Table                    03/18/2019
      PO BOX 88888
      Street
                                                          Sponsor for Hope Gala 2019


      Corpus Christi                TX      78468
      City                          State   ZIP Code

      Recipient's relationship to debtor
      None




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Debtor         Don Krueger Construction Co.                                                Case number (if known)     20-60023
               Name

      Recipient's name and address                          Description of the gifts or contributions         Dates given         Value
9.5. Gracepoint Church                                      Donation of Rebar for New Church                  08/01/2019              $1,350.00
      Recipient's name                                      Building
      1702 US Hwy 181N Ste A9
      Street


      Portland                     TX      78374
      City                         State   ZIP Code

      Recipient's relationship to debtor
      Don Krueger Construction Built New Churc

      Recipient's name and address                          Description of the gifts or contributions         Dates given         Value
9.6. Children's Association for Maximum PotenStarry Night Event Sponsorship                                   Jun 2019                $5,000.00
      Recipient's name
      PO BOX 2708
      Street


      San Antonio                  TX      78227
      City                         State   ZIP Code

      Recipient's relationship to debtor
      Don Krueger Construction Built New Facil

      Recipient's name and address                          Description of the gifts or contributions         Dates given         Value
9.7. Messiah Lutheran Church                                Donation for the New Activity Center              Aug 2019               $20,000.00
      Recipient's name
      9401 Dietz Elkhorn
      Street


      Boerne                       TX      78015
      City                         State   ZIP Code

      Recipient's relationship to debtor
      DKC built the Activity Center at Church

 Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

Description of the property lost and how              Amount of payments received for the loss                    Date of loss   Value of
the loss occurred                                     If you have received payments to cover the loss, for                       property lost
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.
                                                      List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                      Assets -- Real and Personal Property).
2015 Parker Flatbed Trailer - Stolen                  $3,346.94                                                   1/24/2020          $3,500.00
from Shop




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Debtor          Don Krueger Construction Co.                                               Case number (if known)       20-60023
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.

          None

         Who was paid or who received the transfer?            If not money, describe the property              Dates                Total amount
                                                               transferred                                                           or value
 11.1. The Brown Law Firm                                                                                       1/6/2020 -              $10,335.00
                                                                                                                $7000 and
         Address                                                                                                2/24/2020 -
         13900 Sawyer Ranch Road                                                                                $3335
         Street


         Dripping Springs             TX      78620
         City                         State   ZIP Code

         Email or website address
         jerome@brownbankruptcy

         Who made the payment, if not debtor?
         Debtor and Kevin and Tracy Krueger

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

          None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. Various                                                 See detailed list of Debtor's                    2018-2020             $909,489.84
                                                               Transfers attached hereto as Exhibit
         Address                                               6, and incorporated herein for all
                                                               purposes.
         Street




         City                         State   ZIP Code

         Relationship to debtor




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Debtor          Don Krueger Construction Co.                                            Case number (if known)     20-60023
                Name


 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply

         Address                                                                                Dates of occupancy

 14.1. 105 Nell Deane                                                                           From      9/1/2017            To   1/30/2020
         Street


         Schertz                                               TX         78154
         City                                                  State      ZIP Code


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.

 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

          No.
          Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                     No.
                     Yes.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                   No. Go to Part 10.
                   Yes. Fill in below:




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Debtor          Don Krueger Construction Co.                                            Case number (if known)     20-60023
                Name


 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

          None

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.1. Cambridge Investment Research Inc.
         Name
                                                        XXXX- 6        8    4    2         Checking             9/16/2019         $420,524.06
         1776 Pleasant Plain Road                                                          Savings
         Street
                                                                                           Money market
                                                                                           Brokerage
                                                                                           Other
         Fairfield               IA      52556
         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.2. Prosperity Bank
         Name
                                                        XXXX- 2        0    2    0         Checking         1/13/2020              $99,266.52
         101 S. Main Street                                                                Savings
         Street
                                                                                           Money market
                                                                                           Brokerage
                                                                                           Other Cert Depos
         Victoria                TX      77901
         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.3. Prosperity Private Investments
         Name
                                                        XXXX- M        5    6    1         Checking             1/17/2020        $1,373,844.78
         Raymond James Financial Services, Inc.                                            Savings
         Street
                                                                                           Money market
         101 S. Main Street                                                                Brokerage
                                                                                           Other
         Victoria                TX      77901
         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.4. Frost Brokerage Services
         Name
                                                        XXXX- 3        1    3    7         Checking             1/22/2020         $861,110.69
         PO Box 2538                                                                       Savings
         Street
                                                                                           Money market
                                                                                           Brokerage
                                                                                           Other
         San Antonio             TX      78299
         City                    State   ZIP Code




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Debtor          Don Krueger Construction Co.                                        Case number (if known)      20-60023
                Name

         Financial institution name and address       Last 4 digits of            Type of account      Date account        Last balance
                                                      account number                                   was closed,         before closing
                                                                                                       sold, moved,        or transfer
                                                                                                       or transferred
 18.5. Frost Bank
         Name
                                                      XXXX- 1      5     4   7        Checking         1/14/2020             $102,948.50
         PO Box 1600                                                                  Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other Cert Depos
         San Antonio            TX      78296
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account        Last balance
                                                      account number                                   was closed,         before closing
                                                                                                       sold, moved,        or transfer
                                                                                                       or transferred
 18.6. Hilltop Securities
         Name
                                                      XXXX- 4      7     0   5        Checking               11/21/2019     $1,635,671.84
         5601 Granite Parkway                                                         Savings
         Street
                                                                                      Money market
         Suite 300                                                                    Brokerage
                                                                                      Other
         Plano                  TX      75024
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account        Last balance
                                                      account number                                   was closed,         before closing
                                                                                                       sold, moved,        or transfer
                                                                                                       or transferred
 18.7. Wells Fargo Advisors
         Name
                                                      XXXX- 8      6     3   9        Checking                8/9/2019       $64,609.35
         5606 North Navarro                                                           Savings
         Street
                                                                                      Money market
         Suite 101                                                                    Brokerage
                                                                                      Other
         Victoria               TX      77904
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account        Last balance
                                                      account number                                   was closed,         before closing
                                                                                                       sold, moved,        or transfer
                                                                                                       or transferred
 18.8. Wells Fargo Advisors
         Name
                                                      XXXX- 3      4     3   1        Checking                8/9/2019       $59,107.83
         5606 North Navarro                                                           Savings
         Street
                                                                                      Money market
         Suite 101                                                                    Brokerage
                                                                                      Other
         Victoria               TX      77904
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account        Last balance
                                                      account number                                   was closed,         before closing
                                                                                                       sold, moved,        or transfer
                                                                                                       or transferred
 18.9. Frost Bank
         Name
                                                      XXXX- 2      8     3   7        Checking                3/6/2020         $77.00
         PO Drawer 749                                                                Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Corpus Christi         TX      78403
         City                   State   ZIP Code




Official Form 207                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 14
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Debtor          Don Krueger Construction Co.                                        Case number (if known)     20-60023
                Name

         Financial institution name and address       Last 4 digits of            Type of account      Date account       Last balance
                                                      account number                                   was closed,        before closing
                                                                                                       sold, moved,       or transfer
                                                                                                       or transferred
18.10. Frost Bank
         Name
                                                      XXXX- 2      8     2   9        Checking               3/6/2020         $66.89
         PO Drawer 749                                                                Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Corpus Christi         TX      78403
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account       Last balance
                                                      account number                                   was closed,        before closing
                                                                                                       sold, moved,       or transfer
                                                                                                       or transferred
18.11. Frost Bank
         Name
                                                      XXXX- 9      5     8   0        Checking               3/6/2020         $34.00
         PO Drawer 749                                                                Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Corpus Christi         TX      78403
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account       Last balance
                                                      account number                                   was closed,        before closing
                                                                                                       sold, moved,       or transfer
                                                                                                       or transferred
18.12. Wells Fargo Bank, N.A. (808)
         Name
                                                      XXXX- 5      6     9   1        Checking               3/12/2020        $50.00
         PO Box 6995                                                                  Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Portland               OR      97228
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account       Last balance
                                                      account number                                   was closed,        before closing
                                                                                                       sold, moved,       or transfer
                                                                                                       or transferred
18.13. Wells Fargo Bank, N.A. (808)
         Name
                                                      XXXX- 7      9     1   7        Checking               3/12/2020        $10.00
         PO Box 6995                                                                  Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Portland               OR      97228
         City                   State   ZIP Code

         Financial institution name and address       Last 4 digits of            Type of account      Date account       Last balance
                                                      account number                                   was closed,        before closing
                                                                                                       sold, moved,       or transfer
                                                                                                       or transferred
18.14. Wells Fargo Bank, N.A. (808)
         Name
                                                      XXXX- 5      6     9   1        Checking               3/12/2020        $50.00
         PO Box 6995                                                                  Savings
         Street
                                                                                      Money market
                                                                                      Brokerage
                                                                                      Other
         Portland               OR      97228
         City                   State   ZIP Code




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Debtor          Don Krueger Construction Co.                                                 Case number (if known)     20-60023
                Name

         Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                               account number                                    was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
18.15. Wells Fargo Bank, N.A. (808)
         Name
                                                               XXXX- 5      6     8   3        Checking              3/12/2020              $10.00
         PO Box 6995                                                                           Savings
         Street
                                                                                               Money market
                                                                                               Brokerage
                                                                                               Other
         Portland                  OR        97228
         City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

          None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

          None

Facility name and address                               Names of anyone with access to it     Description of the contents               Does debtor
                                                                                                                                        still have it?
Consolidated Electrical Distributors, In Consolidated Electrical                              Electrical Wire/Supplies                      No
Name                                     Distributors, Inc. Personnel                                                                       Yes
218 Omaha Street                         Address
Street




Corpus Christi            TX      78408
City                      State   ZIP Code


  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None




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Debtor           Don Krueger Construction Co.                                               Case number (if known)      20-60023
                 Name


 Part 12:          Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

   Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
   the medium affected (air, land, water, or any other medium).


   Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
   formerly owned, operated, or utilized.

   Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
   similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

          No
          Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

          No
          Yes. Provide details below.

 Part 13:          Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

          None

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.1. KGS Electric Company                              Electrical Subcontractor                    Do not include Social Security number or ITIN.
         Name
         205 Profit Drive                                                                            EIN: 3     8 – 4        0    4    8     0     3   9
         Street
                                                                                                     Dates business existed

         Victoria                    TX      77901                                                   From        2017            To     2020
         City                        State   ZIP Code

26. Books, records, and financial statements

     26a.       List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                    None

                   Name and address                                                                  Dates of service

      26a.1. Garland Sandhop CPA                                                                     From        1992            To     2020
                   Name
                   608 North Wells
                   Street


                   Edna                                         TX          77957
                   City                                         State       ZIP Code




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Debtor       Don Krueger Construction Co.                                                  Case number (if known)      20-60023
             Name

              Name and address                                                                     Dates of service

      26a.2. Tracy Krueger                                                                         From        2014          To       2020
              Name
              205 Profit Drive
              Street


              Victoria                                       TX          77901
              City                                           State       ZIP Code

    26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
           statement within 2 years before filing this case.

               None

              Name and address                                                                     Dates of service

      26b.1. Garland Sandhop CPA                                                                   From        1992          To       2020
              Name
              608 North Wells
              Street


              Edna                                           TX          77957
              City                                           State       ZIP Code

    26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

               None

    26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
           financial statement within 2 years before filing this case.

               None

              Name and address

      26d.1. New First National Bank
              Name
              10301 N. E. Zac Lentz Parkway
              Street


              Victoria                                       TX          77904
              City                                           State       ZIP Code

              Name and address

      26d.2. Prosperity Bank
              Name
              101 S. Main Street
              Street


              Victoria                                       TX          77901
              City                                           State       ZIP Code

              Name and address

      26d.3. Frost Bank
              Name
              PO Box 1600
              Street


              San Antonio                                    TX          78296
              City                                           State       ZIP Code




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Debtor       Don Krueger Construction Co.                                                Case number (if known)   20-60023
             Name

               Name and address

       26d.4. Travelers Casualty & Surety Co.
               Name
               1500 Market Street
               Street
               29th Floor West Tower (Mail Code 1166)
               Philadelphia                                 PA          19102
               City                                         State       ZIP Code

               Name and address

       26d.5. Frost Insurance
               Name
               6835 N. Main Street
               Street


               Victoria                                     TX          77904
               City                                         State       ZIP Code

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                    Address                                     Position and nature of any interest      % of interest, if any

Kevin R. Krueger                        2 Vantage Pt.                               President, Director, & Class A &                   100%
                                        New Braunfels, TX 78130                     B Shareholder
Kevin R. Krueger Trust                  2 Vantage Point                             Class B Shareholder
                                        New Braunfels, TX 78130
Amy Krueger                             2 Vantage Pt.                               Director
                                        New Braunfels, TX 78130
Tracy Krueger                           405 Shiloh                                  Secretary/Treasurer, Director
                                        Victoria, TX 77904
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                    Address                                     Position and nature of    Period during which position
                                                                                    any interest              or interest was held
Lester Colley                           770 Westpark                                Vice-                     From        2003    To     2020
                                        Victoria, TX 77905                          President/Director
Christopher Carrillo                    2161 Hazelwood Drive                        Vice-                     From        2018    To     2020
                                        New Braunfels, TX 78130                     President/Director




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Debtor          Don Krueger Construction Co.                                              Case number (if known)     20-60023
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

          No
          Yes. Identify below.

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.1. Kevin Krueger                                  $315,000.00                              All payrolls     Regular Payroll; 1099
         Name                                                                                  dated            Payments to Assist Travelers
         2 Vantage Pt                                                                          4/10/2019-       with Bond Claims & Clean out
         Street
                                                                                               1/10/2020;       offices and shop
                                                                                               2/10/2020;
         New Braunfels           TX      78130                                                 2/20/2020;
         City                    State   ZIP Code
                                                                                               3/26/2020
         Relationship to debtor
         Director/President/Shareholder

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.2. Tracy Krueger                                  $66,000.00                               All Payrolls     Regular Payroll; 1099
         Name                                                                                  Dated            Payments to Assist Travelers
         405 Shiloh
         Street
                                                                                               4/10/2019-       with Bond Claims & Clean out
                                                                                               1/10/2020;       offices and shop
                                                                                               2/10/2020;
         Victoria                TX      77904                                                 2/20/2020;
         City                    State   ZIP Code
                                                                                               3/26/2020
         Relationship to debtor
         Director/Secretary/Treasurer

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.3. Lester Colley                                  $116,750.00                              All Payrolls     Regular Payroll & Board of
         Name                                                                                  Date             Director Fees 2019
         770 Westpark Ave
         Street
                                                                                               4/10/2019-
                                                                                               1/10/2020

         Victoria                TX      77905
         City                    State   ZIP Code

         Relationship to debtor
         Director/Vice-President

         Name and address of recipient                Amount of money or description           Dates            Reason for
                                                      and value of property                                     providing the value


 30.4. Christopher Carrillo                           $88,620.00                               All Payrolls     Regular Payroll; 1099
         Name                                                                                  Dated            Payments to Assist Travelers
         2161 Hazelwood Drive                                                                  4/10/2019-       with Bond Claims
         Street
                                                                                               1/10/2020;
                                                                                               2/10/2020;
         New Braunfels           TX      78130                                                 2/20/2020;
         City                    State   ZIP Code
                                                                                               3/26/2020
         Relationship to debtor
         Director/Vice-President




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Debtor        Don Krueger Construction Co.                                                 Case number (if known)       20-60023
              Name

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

Name of the pension fund                                                          Employer Identification number of the pension fund
Don Krueger Construction Co. Profit Shar                                          EIN: 7     4 – 1      5   0       8    2   0     0

 Part 14:      Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 05/07/2020
            MM / DD / YYYY
X /s/ Kevin R. Krueger                                                       Printed name Kevin R. Krueger
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 21
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                                       UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF TEXAS
                                               VICTORIA DIVISION
 In re: Don Krueger Construction Co.                                     CASE NO   20-60023

                                                                         CHAPTER   7


                                      BUSINESS INCOME AND EXPENSES



FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

   1. Gross Income for 12 Months Prior to Filing:                            $33,725,000.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
   2. Gross Monthly Income:
                                                                                                               $0.00
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
   3. Net Employee Payroll (Other Than Debtor):                                        $0.00
   4. Payroll Taxes:                                                                   $0.00
   5. Unemployment Taxes:                                                              $0.00
   6. Worker's Compensation:                                                           $0.00
   7. Other Taxes:                                                                     $0.00
   8. Inventory Purchases (including raw materials):                                   $0.00
   9. Purchase of Feed/Fertilizer/Seed/Spray:                                          $0.00
   10. Rent (other than debtor's principal residence):                                 $0.00
   11. Utilities:                                                                      $0.00
   12. Office Expenses and Supplies:                                                   $0.00
   13. Repairs and Maintenance:                                                        $0.00
   14. Vehicle Expenses:                                                               $0.00
   15. Travel and Entertainment:                                                       $0.00
   16. Equipment Rental and Leases:                                                    $0.00
   17. Legal/Accounting/Other Professional Fees:                                       $0.00
   18. Insurance:                                                                      $0.00
   19. Employee Benefits (e.g., pension, medical, etc.):                               $0.00
   20. Payments to be Made Directly by Debtor to Secured Creditors for
        Pre-Petition Business Debts (Specify):                                         None
   21. Other (Specify):                                                                None
   22. Total Monthly Expenses (Add items 3 - 21)                                                               $0.00

PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
   23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                              $0.00
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             SOUTHERN DISTRICT OF TEXAS
                                                                  VICTORIA DIVISION
In re Don Krueger Construction Co.                                                                                                  Case No.           20-60023

                                                                                                                                    Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                Fixed Fee:                    $10,000.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                             $10,000.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                        $0.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
   A. Representation of Debtor in an adversary proceeding, either as a plaintiff or defendant.
   B. Representation of Debtor in a contested matter, including, but not limited to, motions to lift stay and objections to
   exemptions.

  7. In addition to the above indicated amount, Debtor deposited $335 with attorney for payment of filing.




                                                          CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.


                   05/07/2020                        /s/ Jerome A. Brown
                      Date                           Jerome A. Brown                            Bar No. 03140000
                                                     The Brown Law Firm
                                                     13900 Sawyer Ranch Rd.
                                                     Dripping Springs, TX 78620
                                                     Phone: (512) 306-0092 / Fax: (866) 646-5456




    /s/ Kevin R. Krueger
  Kevin R. Krueger
  President
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                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              VICTORIA DIVISION
  IN RE:   Don Krueger Construction Co.                                             CASE NO   20-60023

                                                                                   CHAPTER    7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 5/7/2020                                            Signature    /s/ Kevin R. Krueger
                                                                     Kevin R. Krueger
                                                                     President


Date                                                     Signature
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                  461 HOLDINGS, LLC
                   dba 461 ECO-CLEAN
                  3314 CORYELL COVE
                  SAN ANTONIO, TX 78253


                  4MC ENTERPRISES INC.
                  PO BOX 109
                  RED ROCK, TX 78662



                  A&S UNDERGROUND LLC
                  PO BOX 236
                  COPPERAS COVE, TX 76522



                  A. BARGAS & ASSOCIATES LLC
                  PO BOX 792056
                  SAN ANTONIO, TX 78279-2056



                  A.Z. REBAR CONSTRUCTION INC
                  5627 HOLLY RD.
                  CORPUS CHRISTI, TX 78412



                  A/C TECHNICAL SERVICES LLC
                  PO BOX 1535
                  CASTROVILLE, TX 78009



                  AC DISTRIBUTION INC.
                  dba AIR PRO MECHANICAL
                  5638 BEAR LANE
                  CORPUS CHRISTI, TX 78405


                  ACCURATE PAVEMENT STRIPING
                  C/O SOUTHSTAR FINANCIAL, LLC
                  PO BOX 2323
                  MT PLEASANT, SC 29465


                  ACE FABRICATORS, INC.
                  7010 FURAY ROAD
                  HOUSTON, TX 77016



                  ADS MARTIN LLC
                  PO BOX 247
                  GEORGETOWN, TX 78627
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                  ADVANCED COMMUNICATIONS & CABLING INC.
                  PO BOX 697
                  SAN ANTONIO, TX 78293-0697



                  ADVANCED DRYWALL SYSTEMS INC.
                  12900 TRAILS END ROAD
                  LEANDER, TX 78641



                  ADVANCED PUMPING, LLC
                  PO BOX 10423
                  CORPUS CHRISTI, TX 78460



                  AIR COMMUNICATIONS CO. INC.
                  11376 PAT GEORGE BLVD.
                  CONROE, TX 77303-5466



                  AIR TECHNOLOGIES INC.
                  PO BOX 129
                  MANCHACA, TX 78652



                  AIRGAS USA, LLC
                  PO BOX 734671
                  DALLAS, TX 75373-4671



                  ALAMO DOOR SYSTEMS OF TEXAS INC.
                  16358 NACOGDOCHES ROAD
                  SAN ANTONIO, TX 78247



                  ALAMO LUMBER COMPANY
                  PO BOX 17258
                  SAN ANTONIO, TX 78217



                  ALAZAN BUILDERS LP
                  PO BOX 3922
                  CORPUS CHRISTI, TX 78463



                  ALLIANCE SPECIALIZED SYSTEMS
                  602 N McCOLL RD.
                  MCALLEN, TX 78501
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                  AMBROSE CONSTRUCTION LTD.
                  518 S ENTERPRISE PKWY, SUITE B
                  CORPUS CHRISTI, TX 78405



                  AMERICAN ABATEMENT
                  1315 WEST BLANCO
                  SAN ANTONIO, TX 78232



                  AMERICAN ALL STAR GYMNASTICS
                  7150 NORTH I35
                  NEW BRAUNFELS, TX 78130



                  AMERICAN EXPRESS
                  PO BOX 650448
                  DALLAS, TX 75265-0448



                  AMERICAN INTERIORS, INC.
                  12910 FLAGSHIP
                  SAN ANTONIO, TX 78247



                  AMES BONNER CONTRUCTION
                  JAMES BONNER
                  1823 NAEGELEN ROAD
                  LYTLE TX 78052


                  AQUATECH WATERPROOFING
                  1810 NORTH CR 122
                  ROUND ROCK, TX 78665



                  ARANSAS PASS ISD
                  430 S EIGHTH ST
                  ARANSAS PASS, TX 78336



                  ARCASE INC.
                  1007 W ASHBY PLACE
                  SAN ANTONIO, TX 78212



                  ARCHITECTURAL DVISION 8
                  2425 BROCKTON, SUITE 101
                  SAN ANTONIO, TX 78217
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                  ARGOSY FLOOR COVERING, LLC
                  6831 BREEDEN
                  SAN ANTONIO, TX 78216



                  ASTON MARBLE & GRANITE LLC
                  3625 S PORT
                  CORPUS CHRISTI, TX 78415



                  AT&T MOBILITY LLC
                  PO BOX 6463
                  CAROL STREAM, IL 60197-6463



                  AT&T U-VERSE
                  PO BOX 5014
                  CAROL STREAM, IL 60197



                  AUSTIN COATINGS INC
                  PO BOX 140765
                  AUSTIN, TX 78714-0765



                  AUSTWELL TIVOLI ISD
                  207 REDFISH ST
                  TIVOLI, TX 77900



                  AVADEK
                  dba of Luebe-Jones Inc.
                  12130 GALVESTON RD, BLDG 1
                  WEBSTER, TX 77598


                  BBA ARCHITECTS L.P.
                  1702 SOUTH MARKET STREET
                  BRENHAM, TX 77833



                  BD HOLT CO
                  dba HOLT CAT
                  PO BOX 650345
                  DALLAS, TX 75265-0345


                  BEASLEY TIRE SERVICE HOUSTON
                  11802 EASTEX FREEWAY
                  HOUSTON, TX 77039
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                  BECKWITH ELECTRONIC ENGINEERING CO.
                  5050 BECKWITH BLVD.
                  SAN ANTONIO, TX 78249



                  BELDON ROOFING COMPANY
                  5039 WEST AVE
                  SAN ANTONIO, TX 78213



                  BELL COUNTY GLASS COMPANY INC.
                  PO BOX 2468
                  HARKER HEIGHTS, TX 76548



                  BETHANY F. BECK
                  SANDERFORD & CARROLL, PC
                  1100 NE LOOP 410, SUITE 550
                  SAN ANTONIO, TX 78209


                  BIG STATE ELECTRIC LTD
                  8923 AERO STREET
                  SAN ANTONIO, TX 78217



                  BILL & KELLY VON GONTEN
                  11740 DUART DR
                  HOUSTON, TX 77024



                  BINSWANGER GLASS
                  4019 BRETT STREET
                  CORPUS CHRISTI, TX 78411



                  BLUDAU FABRICATION
                  PO BOX 255
                  HALLETTSVILLE, TX 77964



                  BNR CONCRETE POLISHING LLC
                  PO BOX 166858
                  IRVING, TX 75016-6858



                  BOND; JERRY
                  2375 MESQUITE PASS
                  SEGUIN, TX 78155
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                  BRAD GASWIRTH
                  CANTERBURY GOOCH SURRATT SHAPIRO STEIN
                  GASWIRTH & JONES, P.C.
                  4851 LBJ FREEWAY, SUITE 301
                  DALLAS, TX 75244

                  BRUCE NEYLAND
                  ATTORNEY AT LAW
                  INDEPENDENCE PLAZA II
                  14350 NORTHBROOK DRIVE, SUITE 150
                  SAN ANTONIO, TX 78232

                  BT CHURCH
                  2001 TRENTON RD
                  MCALLEN, TX 78504



                  CALVIN & CHERYL DEVRIES
                  6649 SEACOMBER DR
                  UNIT 208
                  PORT ARANSAS, TX 78375


                  CAMACHO DEMOLITION LLC
                  5113 AGNES ST.
                  CORPUS CHRISTI, TX 78405



                  CAMP CAMP
                  2525 LADD ST, BUILDING 3850
                  SAN ANTONIO, TX 78236



                  CARDENAS MASONRY INC.
                  PO BOX 1328
                  MCALLEN, TX 78505-1328



                  CARRILLO'S CLEANING SERVICES
                  7015 MILL STREAM
                  SAN ANTONIO, TX 78238



                  CARROLL SYSTEMS
                  4603 COMMERCIAL PARK DR.
                  AUSTIN, TX 78724



                  CASEY CULLEN
                  CULLEN, CARSNER, SEERDEN, & CULLEN LLP
                  PO BOX 2938
                  VICTORIA, TX 77902-2938
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                  CASTRO; JULIO
                  PO BOX 2083
                  LYTLE, TX 78052



                  CEDAR PARK OVERHEAD DOORS
                  1408 N BELL BLVD
                  CEDAR PARK, TX 78613



                  CEN-TEX MASONRY, INC.
                  1965 ROCKRIDE LANE
                  GEORGETOWN, TX 78626



                  CENTRAL BACKHOE & UTILITIES, LTD
                  10080 BRAUN ROAD
                  SAN ANTONIO, TX 78254



                  CHANEK, RON
                  dba CROSSROADS II
                  PO BOX 7024
                  VICTORIA, TX 77903


                  CHASE CARD SERVICES
                  PO BOX 94014
                  PALATINE, IL 60094-4014



                  CHIEF FIRE SYSTEMS INC
                  PO BOX 419
                  PINEHURST, TX 77362-0419



                  CHOATE USA
                  PO BOX 118114
                  CARROLLTON, TX 75011



                  CHRIS & SHANNON BUSH
                  PO DRAWER 1007
                  REFUGIO, TX 78377



                  CIANO PASTA
                  ATTORNEY AT LAW
                  1800 ST. JAMES PLACE, SUITE 200
                  HOUSTON, TX 77056
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                  CINTAS CORPORATION NO. 2
                  dba CINTAS FIRST AID
                  PO BOX 631025
                  CINCINNATI, OH 45263-1025


                  CIRCLE C MILLWORK INC.
                  PO BOX 1119
                  ADKINS, TX 78101



                  CLARIDGE PRODUCTS & EQUIPMENT INC.
                  180 N SHERMAN AVE
                  CORONA, CA 92882



                  CNA INSURANCE
                  PO BOX 74007619
                  CHICAGO, IL 60674-7619



                  COASTAL A.D.S. INC.
                  PO BOX 9232
                  CORPUS CHRISTI, TX 78469-9232



                  COASTAL COMMUNITY CHURCH
                  PO BOX 2100
                  GALVESTON, TX 77553



                  COASTAL SHORING INC.
                  4035 NACO PERRIN #102A
                  SAN ANTONIO, TX 78217



                  COATS ROSE, P.C.
                  C/O BEN L. ADERHOLT
                  9 GREENWAY PLAZA, SUITE 1000
                  HOUSTON, TX 77046


                  CODY HENSON
                  HENSON & ROCKAFELLOW, PLLC
                  117 E JACKSON ST
                  BURNET, TX 78611


                  CODY LEWIS
                  HAYES BERRY WHITE VANZANT
                  512 W HICKORY ST., SUITE 100
                  DENTON, TX 76201
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                  COLUMBIA ELECTRIC SUPPLY
                  8610 BROADWAY, STE 200
                  SAN ANTONIO, TX 78217



                  COMMERCIAL METALS COMPANY
                  DEPT. 1439
                  PO BOX 844579
                  DALLAS, TX 75284-4579


                  CONQUEST DEMOLITION INC.
                  271 COMMERCIAL DRIVE
                  BUDA, TX 78610



                  Consolidated Electrical Distributors, In
                  Education Service Center - Reg 20
                  PO BOX 3626
                  Victoria, Texas 77903


                  CONTINENTAL QUARRIES, INC.
                  PO BOX 37
                  FLORENCE, TX 76527-0037



                  CONVERGINT TECHNOLOGIES LLC
                  35257 EAGLE WAY
                  CHICAGO, IL 60678-1352



                  CORPUS CHRISTI BUILDERS HARDWARE INC.
                  PO BOX 271418
                  CORPUS CHRISTI, TX 78427-1418



                  CORPUS CHRISTI STAMP WORKS
                  PO BOX 2189
                  CORPUS CHRISTI, TX 78403-2189



                  COURTESY CAR WASH
                  dba VICTORIA CAR WASH SERVICES LLC
                  7102 N NAVARRO
                  VICTORIA, TX 77904


                  CRAIG ELECTRIC SERVICE
                  5804 BABCOCK ROAD #408
                  SAN ANTONIO, TX 78240
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                  CROSSROADS SPECIALITIES LLC
                  PO BOX 5008
                  VICTORIA, TX 77903-5008



                  CROSSROADS TIRE SERVICE
                  8806 N NAVARRO, STE 600-222
                  VICTORIA, TX 77904



                  CRT FLOORING
                  5625 HOLLY RD
                  CORPUS CHRISTI, TX 78412



                  CRYSTAL P SMITH
                  SANDERFORD & CARROLL, P.C
                  1100 NE LOOP 410, SUITE 550
                  SAN ANTONIO, TX 78209


                  D&F INDUSTRIES, INC.
                  3106 N SUGAR RD.
                  PHARR, TX 78577



                  D&M OWENS INC.
                  PO BOX 311353
                  NEW BRAUNFELS, TX 79131



                  D&M STRIPING LLC
                  114 CLOUD ST.
                  LAMPASAS, TX 76550



                  D-7 ROOFING LLC
                  5470 LINCOLN ST.
                  DENVER, CO 80216



                  D.L. BANDY CONSTRUCTORS INC.
                  4406 CENTERGATE ST
                  SAN ANTONIO, TX 78217



                  D2 EXCAVATING INC.
                  204 CR 180
                  LEANDER, TX 78641
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                  DAVID BRADFORD
                  6649 SEACOMBER DR.
                  UNIT 709
                  PORT ARANSAS, TX 78375


                  DAVIS CONTRACTORS LTD.
                  5205 FM 236
                  CUERO, TX 77954-6658



                  DexYP
                  PO BOX 619009
                  DFW AIRPORT, TX 75261-9009



                  DILLEY ISD
                  245 HIGHWAY 117
                  DILLEY, TX 78017



                  DISCOUNT TIRE
                  THE REINALT-THOMAS CORPORATION
                  PO BOX 29851
                  PHOENIX, AZ 85038-9851


                  DONALD R KRUEGER FAMILY TRUST
                  PO BOX 3865
                  VICTORIA, TX 77903-3865



                  DRYWALL SYSTEMS INC
                  PO BOX 474
                  BELTON, TX 76513



                  DUCKWORTH, DANIEL LEE
                  422 FOREST RIDGE DR
                  KERRVILLE, TX 78028



                  DUNAWAY
                  550 BAILEY AVE, SUITE 400
                  FORT WORTH, TX 76107



                  E.F. EHRIG & SONS LTD.
                  221 PR 2003
                  GONZALES, TX 78629
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                  ED BROWN DISTRIBUTORS
                  3236 IRVING BLVD
                  DALLAS, TX 75247



                  EDGAR GARCIA, ESQ.
                  GARCIA LAW FIRM, PLLC
                  THE BROOKHOLLOW ATRIUM
                  1000 CENTRAL PARKWAY N, SUITE 100
                  SAN ANTONIO, TX 78232

                  EFFICIENT AC INC.
                  10315 METROPOLITAN DR, SUITE A
                  AUSTIN, TX 78758



                  ELECTRA LINK, INC.
                  21755 IH 45, BLDG 10
                  SPRING, TX 77388



                  Elegant Limo
                  1508 N Ben Jordan Street
                  Victoria, Texas 77901



                  ELLIOTT; JOE S.
                  dba SOUTH TEXAS ECO FOAM INSULATION
                  4848 FM 3355
                  BEEVILLE, TX 78102


                  ENVIRONMENTAL ALLIES GP INC.
                  9625 WINDFERN RD.
                  HOUSTON, TX 77064



                  EPS INTERNATIONAL INC.
                  PO BOX 958012
                  ST. LOUIS, MO 63195-8012



                  EQUIPMENTSHARE
                  PO BOX 2214
                  DEACATUR, AL 35609



                  ERIC CLINTON
                  SPROUSE SHRADER SMITH PLLC
                  701 S TAYLOR, SUITE 500
                  PO BOX 15008
                  AMARILLO, TX 79105-5008
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                  ERROL J. DIETZE
                  DIETZE & REESE LLP
                  PO BOX 841
                  CUERO, TX 77954


                  ESPINOZA LAW FIRM PLLC
                  C/O JAVIER ESPINOZA
                  10202 HERITAGE BLVD.
                  SAN ANTONIO, TX 78216


                  EUBANKS GROUP ARCHITECTS
                  4116 CENTER ST.
                  HOUSTON, TX 77007



                  EVANS INTERIORS INC.
                  13211 STAFFORD ROAD, STE 400
                  MISSOURI CITY, TX 77489



                  EVERGREEN POWER LLC
                  PO BOX 1639
                  LAMPASAS, TX 76550



                  EVINS GLASS SERVICE
                  101 N.P.I.D.
                  CORPUS CHRISTI, TX 78406



                  EXPERT AIR REFRIGERATION SERVICES LLC
                  PO BOX 5453
                  ROUND ROCK, TX 78683



                  EXXON MOBIL
                  PO BOX 78001
                  PHOENIX, AZ 85062-8001



                  FA NUNNELLY GENERAL CONTRACTOR
                  2922 N PAN AM EXPRESSWAY
                  SAN ANTONIO, TEXAS 78208



                  FASTENAL COMPANY
                  PO BOX 1286
                  WINONA, MN 55987-1286
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                  FAYETTE CO
                  151 N WASHINGTON ST., ROOM 301
                  LA GRANGE, TX 78945



                  FEDEX FREIGHT
                  DEPT CH, PO BOX 10306
                  PALATINE, IL 60055-0306



                  FERGUSON ENTERPRISES INC.
                  PO BOX 847411
                  DALLAS, TX 75284-7411



                  FERNANDO & NORMA REYES
                  6649 SEACOMBER DR
                  UNIT 1104
                  PORT ARANSAS, TX 78375


                  FIRE KING LLC
                  8906 WALL ST. # 603
                  AUSTIN, TX 78754



                  FIREPROOF CONTRACTORS INC
                  PO BOX 550107
                  HOUSTON, TX 77255



                  FIRETROL PROTECTION SYSTEMS INC.
                  4410 DILLON LANE SUITE 38
                  CORPUS CHRISTI, TX 78415



                  FIRETROL PROTECTION SYSTEMS, INC
                  105 WINDY MEADOWS, BLDG #1
                  SCHERTZ, TX 78154



                  FIRETROL PROTECTION SYSTEMS, INC
                  4616 W HOWARD LANE #700
                  AUSTIN, TX 78728



                  FIRETRON INC.
                  PO BOX 1604
                  STAFFORD, TX 77497
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                  FLETCHER LEE
                  6649 SEACOMBER DR
                  UNIT 309
                  PORT ARANSAS, TX 78375


                  FRAMING MASTERS INC.
                  356 FM 1984
                  MAXWELL, TX 78656



                  FRED TILLMAN CONTRACTORS INC
                  7011 W BEE CAVE RD
                  AUSTIN, TX 78746



                  FROST BANK
                  3838 ROGERS RD
                  SAN ANTONIO, TX 78251



                  FROST INSURANCE AGENCY INC.
                  PO BOX 2625
                  VICTORIA, TX 77902-2625



                  FUENTES JR.; AVELINO
                  212 HONDO
                  DEVINE, TX 78016



                  G.D. INTERIOR CONSTRUCTION
                  3506 COPELAND
                  SAN ANTONIO, TX 78219



                  G.F.C.S. INC.
                  11734 SCHRIBER ROAD
                  BUDA, TX 78610



                  GANADO ISD
                  PO BOX 1200
                  GANADO, TX 77962



                  GARZA, JUAN
                  dba RGV CONCRETE STAIN
                  205 E VERACRUZ DR
                  PHARR, TX 78577
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                  GARZA; DANIEL
                  dba THE CARPET HOUSE
                  1303 E ROGERS RD
                  EDINBURG, TX 78542


                  GERRY STRICKLIN
                  dba AIC
                  11403 GRAPEWOOD DR.
                  HOUSTON, TX 77089


                  GILL REPROGRAPHICS INC.
                  1227 SAFARI
                  SAN ANTONIO, TX 78216



                  GPM ENGINEERING INC
                  5440 OLD BROWNSVILLE ROAD
                  CORPUS CHRISTI, TX 78417



                  GQ MASONRY
                  5235 CANARY HOLLOW
                  SAN ANTONIO, TX 78222



                  GRANT MACKAY COMPANY INC.
                  1055 WEST 500 SOUTH
                  WEST BOUNTIFUL, UT 84087



                  GREATAMERICAN FINANCIAL SERVICES
                  PO BOX 660831
                  DALLAS, TX 75266-0831



                  GROUND PENETRATING RADAR SYSTEMS LLC
                  PO BOX 932
                  TOLEDO, OH 43697



                  GUADALUPE JOEL SANCHEZ
                  G.J. SANCHEZ PAINTING
                  2434 VALENCIA
                  SAN ANTONIO, TX 78237


                  GUIDO LUMBER COMPANY INC.
                  8526 VIDOR AVE
                  SAN ANTONIO, TX 78216
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                  GUINEA RUN RV PARK
                  275 COUNTY ROAD 422
                  PREMONT, TX 78375



                  GULF BEND CONTRACTING LLC
                  406 TAMPA DRIVE
                  VICTORA, TX 77904



                  H&H DOORS & HARDWARE LTD
                  PO BOX 3542
                  VICTORIA, TX 77903



                  HANSCO INC.
                  11927 RAIL DR
                  SAN ANTONIO, TX 78233



                  HCEC
                  PO BOX 753
                  HAMILTON, TX 76531-0753



                  HD SUPPLY CONSTRUCTION AND INDUSTRIAL
                  PO BOX 4852
                  ORLANDO, FL 32802-4852



                  HERBERT FELDMAN
                  6649 SEACOMBER DR
                  UNIT 801
                  PORT ARANSAS, TX 78375


                  HERMAN ALARMS & HOME
                  441 FRITZ RD
                  BRENHAM, TX 77833



                  HICKS LIGHTNING PROTECTION
                  7420 FM 2449
                  PONDER, TX 76259



                  HOME DEPOT CREDIT SERVICES
                  DEPT 32-2541419903
                  PO BOX 183176
                  COLUMBUS, OH 43218-3176
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                  HOWARD MAREK
                  MAREK, GRIFFIN & KNAUPP
                  PO BOX 2329
                  VICTORIA, TX 77902-2329


                  HUGHES NETWORK SYSTEMS
                  PO BOX 96874
                  CHICAGO, IL 60693-6874



                  HUNTER DEMOLITION & WRECKING CORP.
                  PO BOX 786
                  POTEET, TX 78065



                  HW MARSHALL CONSTRUCTION INC
                  PO BOX 1043
                  LYFORD, TX 78569



                  IAN T. TODD
                  SNEED, VINE & PERRY
                  108 EAST 8TH STREET
                  GEORGETOWN, TX 78626


                  INFINITI COMMUNICATIONS TECHNOLOGIES INC
                  PO BOX 184 (DEPT #208)
                  HOUSTON, TX 77001-0184



                  J. BAIRD SMITH
                  NAMAN, HOWELL, SMITH, & LEE PLLC
                  8310 N CAPITAL OF TEXAS HWY, SUITE 490
                  AUSTIN, TX 78731


                  JACOB HILDERBRAND
                  dba JR WATERPROOFING
                  9811 TAMBER LANE
                  SAN ANTONIO, TX 78255


                  JAMES BONNER CONSTRUCTION
                  1823 NAEGELEN ROAD
                  LYTLE, TX 78052



                  JAMES EMIL FAREK
                  J&P FAREK PAVING CONSULTANTS
                  PO BOX 452
                  FLATONIA, TX 78941
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                  JAMES TELECO
                  341 EDGAR LEESVILLE ROAD
                  CUERO TX 77954



                  JD KUNZ CONCRETE CONTRACTOR, INC
                  PO BOX 310419
                  NEW BRAUNFELS, TX 78131



                  JERICHO WOODWORKS
                  425 SUMMER PARK DR.
                  STAFFORD, TX 77477



                  JOE VIRENE
                  GRAY REED
                  1300 POST OAK BLVD., SUITE 2000
                  HOUSTON, TX 77056


                  JOHN DEERE FINANCIAL
                  PO BOX 650215
                  DALLAS, TX 75265-0215



                  JOHN MORRIS
                  dba MORRIS UNDERGROUND CONST.
                  10163 FM 236
                  VICTORIA, TX 77905


                  JOHN S. WARREN
                  WARREN, DRUGAN, & BARROWS P.C.
                  606 NORTH CARANCAHUA ST., SUITE 601
                  CORPUS CHRISTI, TX 78401


                  JOHNSON CONTROLS FIRE PROTECTION LP
                  DEPT CH 10320
                  PALATINE, IL 60055-0320



                  JOLLY ROOFING & CONTRACTING CO INC
                  711 CHANEY
                  COLLIERVILLE, TN 38017



                  JONATHAN MARSHALL
                  LOVEIN RIBMAN PC
                  1225 MAIN STREET, SUITE 200
                  GRAPEVINE, TX 76051
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                  JOSE GAMEZ
                  DONNELL, KIESCHNICK, WOLTER & GAMEZ P.C.
                  WELLS FARGO BANK BUILDING
                  2830 WEST TRENTON
                  EDINBURG, TX 78539

                  JOSEPH A. GARNETT
                  SHEEHY WARE PAPPAS
                  909 FANNIN STREET
                  SUITE 2500
                  HOUSTON, TX 77010

                  JOSEPH, MANN & CREED
                  8948 CANYON FALLS BLVD, SUITE 200
                  TWINSBURG, OH 44087



                  JOSH CONDON
                  CONDON LAW, PLLC
                  11675 JOLLYVILLE ROAD, SUITE 209
                  AUSTIN, TX 78759


                  JUNG TILE SERVICES, INC
                  PO BOX 3762
                  VICTORIA, TX 77903-3762



                  JUSTIN J. DERTINGER
                  PLUNK SMITH, PLLC
                  1701 LEGACY DRIVE, SUITE 2000
                  FRISCO, TX 75034


                  KAYE & SONS SITE DEVELOPMENT
                  4920 BEAR LANE
                  CORPUS CHRISTI, TX 78405



                  KCAC, INC.
                  dba KATY BLINDS COMMERICAL
                  5609 13TH ST
                  KATY, TX 77493


                  KCM CABINETS, INC
                  5738 GREY ROCK DR.
                  SAN ANTONIO, TX 78228



                  KDR CONTRACTORS, LLC
                  PO BOX 1138
                  COLUMBUS TX 78934
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                  KEITH MILLER
                  LAW OFFICES OF KEITH P MILLER
                  14350 NORTHBROOK, SUITE 150
                  SAN ANTONIO, TX 78232


                  KELLY PAINTING & DRYWALL, LLC
                  9703 N. NAVARRO, STE A
                  VICTORIA, TX 77904



                  KENDALL EROSION CONTROL SERVICES
                  CCECS INC
                  5866 S. STAPLES, STE. 301
                  CORPUS CHRISTI, TX 78413


                  Kevin and Amy Krueger
                  2 Vantage Point
                  New Braunfels, Texas 78130



                  Kevin Krueger
                  2 Vantage Point
                  New Braunfels, Texas 78130



                  KEY ENTERPRISES
                  1311 CHISHOLM TRAIL, STE. 404
                  ROUND ROCK, TX 78681



                  KILLEEN GLASS & MIRROR COMPANY, INC.
                  5211 E VETERANS MEMORIAL BLVD
                  KILLEEN, TX 76543



                  KLINGER SPECIALTIES DIRECT INC
                  6200 TRI COUNTY PKWY, STE. 100
                  SCHERTZ, TX 78154



                  KNEEDEEP LT LLC
                  PO BOX 114
                  CHATTANOOGA, TX 75328-0114



                  KNEZEK CONTRACTION SERVICES
                  17701 PRAIRIE VERBENA LANE
                  ELGIN, TX 78621
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                  KNOLLE, HOLCOMB, CALLAHAN
                  13625 RONALD REAGAN BLVD., BUILDING 1, S
                  CEDAR PARK, TX 78613



                  Krebs Farley & Dry, PLLC
                  909 18th Street
                  Plano, TX 75074



                  KRONBERG'S FLAGS & FLAGPOLES
                  7106 MAPLERIDGE
                  HOUSTON, TX 77081



                  KRUEGER; TRACY
                  405 SHILOH
                  VICTORIA, TX 77904



                  LAGO VISTA SUN HARDWARE
                  7401 LOHMAN FORD
                  LAGO VISTA, TX 78645



                  LAMPASAS BUILDERS MARK, INC.
                  PO BOX 588
                  LAMPASAS, TX 76550



                  LAMPASAS CO
                  501 E 4TH ST
                  LAMPASAS, TX 76550



                  LANGLEY CONSTRUCTION GROUP
                  717 N. WATER STREET
                  BURNET, TX 78611



                  LANTZ, JACOB
                  dba LANTZ'S LAKESIDE PLUMBING
                  PO BOX 4462
                  LAGO VISTA, TX 78645


                  LARRY'S LUBE, TIRE AND AUTO
                  913 S. CHESTNUT ST
                  LAMPASAS, TX 76550
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                  LARSON PLUMBING & UTILITY CO.
                  605 CANTWELL
                  CORPUS CHRISTI, TX 78408



                  LAUGER COMPANIES, INC.
                  PO BOX 2146
                  VICTORIA, TX 77902-2146



                  LAW OFFICES OF MOLLY P. THOMAS
                  PO BOX 37
                  SINTON, TX 78387



                  LEGACY MASONRY, LLC
                  PO BOX 21747
                  WACO, TX 76702



                  LENTZ HARDWARE
                  1207 N WHEELER
                  VICTORIA, TX 77901



                  LESTER CONTRACTING, INC
                  PO BOX 986
                  PORT LAVACA, TX 77979-0986



                  LEVERAGE MACHINE & FABRICATION
                  2512 FM 3084
                  PORT LAVACA, TX 77979



                  LIZABETH LAUREL MICA
                  dba THE OUTHOUSE
                  PO BOX 322
                  FLATONIA, TX 78941-0322


                  LOCHRIDGE-PRIEST, INC.
                  2901 E. INDUSTRIAL BLVD
                  WACO, TX 76705



                  LODGE AT LAKELINE VILLAGE
                  2000 SOUTH LAKELINE BLVD
                  CEDAR PARK, TX 78613
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                  LOFTIN EQUIPMENT CO.
                  PO BOX 641055
                  DALLAS, TX 75264-1055



                  LONE STAR CONTAINERS
                  317 SIDNEY BAKER ST.
                  STE. 400, PMB 259
                  KERRVILLE, TX 78028


                  LONE STAR OVERNIGHT LP
                  PO BOX 149225
                  AUSTIN, TX 78714-9225



                  LONGHORN BLINDS OF AUSTIN, LLC
                  4201 S. CONGRESS AVE.
                  STE. 312
                  AUSTIN, TX 78745


                  LUKE, JEFFERY
                  dba PAVECO DESIGNS LLC
                  PO BOX 869
                  COMFORT TX 78013


                  M MARTINEZ MASONS, INC
                  M MARTINEZ MASONRY
                  1088 WOOD HI RD.
                  VICTORIA, TX 77905


                  M&M SPECIALTY CAULKING, LLC
                  137 EARL ST
                  SAN ANTONIO, TX 78212



                  MABRY, RAY
                  dba BEST PEST CONTROL
                  108 MABRY LANE
                  WHITNEY, TX 76692


                  MAJEK TILE & MARBLE CO., INC
                  PO BOX 271607
                  CORPUS CHRISTI, TX 78427



                  MALEK, INC
                  PO BOX 679
                  CORPUS CHRISTI, TX 78403
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                  MANCO STRUCTURES, LTD.
                  6106 FM 3009
                  SCHERTZ, TX 78154



                  MARK McCANDLESS
                  dba AUSTIN REFRIGERATION, LLC
                  5114 BALCONES WOODS DR., #307-300
                  AUSTIN, TX 78759


                  MARK MURPHY
                  DAVIS/SANTOS
                  719 S FLORES ST
                  SAN ANTONIO, TX 78204


                  MARKSMEN GENERAL CONTRACTORS INC.
                  24165 IH-10, SUITE 744
                  SAN ANTONIO, TEXAS 78257



                  MARLOW THOMAS RESIDENTIAL SYSTEMS, LLC
                  16116 COLLEGE OAK
                  SAN ANTONIO, TX 78249



                  MARSH WATERPROOFING, INC.
                  PO BOX 968
                  VIDOR, TX 77670



                  Matthews, Shiels et al.
                  Misti Beanland
                  8131 LBJ Freeway, Suite 700
                  Dallas, Texas 75251


                  MCALLEN HOME & COMMERCIAL PAINTING
                  10540 N. SHARY RD.
                  MISSION, TX 78573



                  MCALLEN PEST CONTROL, INC
                  PO BOX 5249
                  MCALLEN, TX 78502



                  MELODEE GRUBER
                  GRUBER LAW FIRM PLLC
                  1115 17TH ST.
                  HONDO, TX 78861
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                  METAL MART
                  PO BOX 1735
                  SHREVEPORT, LA 71166-17365



                  MICHAEL A. JOHNSON, P.C
                  5606 N NAVARRO ST. SUITE 200
                  VICTORIA, TX 77904



                  MISSION RESTAURANT SUPPLY
                  PO BOX 10310
                  SAN ANTONIO, TX 78210-0310



                  MISTI BEANLAND
                  MATTHEWS, SHIELS, KNOTT, EDEN, DAVIS,&
                  BEANLAND, LLP
                  8131 LBJ FREEWAY, SUITE 700
                  DALLAS, TX 75251

                  ML ROOFING
                  6819 HIGHWAY BLVD., STE 660
                  KATY, TX 77494-8299



                  MOMENTUM RENTALS & SALES
                  809 SOUTH HWY 35
                  PORT LAVACA, TX 77979



                  MOORECO, INC
                  dba BEST-RITE CONTRACT DIVISION
                  PO DRAWER D
                  TEMPLE, TX 76503


                  MULDER FIRE PROTECTION, INC
                  5807 LA COLONIA
                  SAN ANTONIO, TX 78218



                  NAH SPORTS FLOORING, LLC
                  3528 E. TC JESTER BLVD
                  HOUSTON, TX 77018



                  NATALYA S. SHEDDAN
                  ALLENSWORTH & PORTER LLP
                  100 CONGRESS AVE., SUITE 700
                  AUSTIN, TX 78701
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                  NATIONAL CONSTRUCTION RENTALS INC.
                  PO BOX 4503
                  PACOIMA, CA 91333



                  NATIONAL CREDIT SYSTEMS INC
                  PO BOX 312125
                  ATLANTA, GA 31131-2125



                  NEWFIRST NATIONAL BANK
                  10301 N.E. ZAC LENTZ PKWY
                  VICTORIA, TX 77904



                  NORTHPOINT CHURCH
                  1320 ARROW POINT DR
                  CEDAR PARK, TX 78613



                  O'REILLY AUTOMOTIVE, INC
                  PO BOX 9464
                  SPRINGFIELD, MO 65801-9464



                  ONEPOINTE SOLUTIONS, LLC
                  1112 SWENSON BLVD
                  ELGIN, TX 78621



                  OVENELL, BRYAN
                  dba CENTRAL TEXAS EROSION CONTROL (CTEC)
                  18018 FM 969
                  MANOR, TX 78653


                  PAC-VAN INC
                  75 REMITTANCE DR., STE. 3300
                  CHICAGO, IL 60675-3300



                  PARKER, MICHAEL
                  dba PARKERS CUSTOM STAINED & ETCHED GLAS
                  4006 STATHMORE DR.
                  SAN ANTONIO, TX 78217


                  PARKS COFFEE
                  PO BOX 110209
                  CARROLLTON TX 75011-0209
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                  PAUL WILSON, ESQ
                  PR WILSON LAW FIRM P.C
                  323 W. CANO ST., 2ND FLOOR
                  EDINBURG, TX 78539


                  PEST SOLUTIONS, INC.
                  PO BOX 5371
                  VICTORIA, TX 77903-5371



                  PETERSON CONTRACTORS, INC
                  PO BOX A
                  REINBECK, IA 50669



                  PILSNER, BEVERLY
                  dba RENSLIP FIRE PROTECTION
                  4947 HWY 90
                  ALLEYTON, TX 78935


                  POWERS GOOLSBY ARCHITECTS
                  1824 UNIVERSAL CITY BLVD
                  UNIVERSAL CITY, TX 78148



                  PRAXAIR DISTRIBUTION, INC
                  DEPT. 0812
                  PO BOX 120812
                  DALLAS, TX 75312-0812


                  PREMONT ISD
                  PO BOX 530
                  PREMONT, TX 78375



                  PRIME COAT II, LLC
                  PRIME COAT COATING SYSTEMS
                  1949 SWANSON COURT
                  GURNEE, IL 60031


                  PRIME FIVE PAINTING
                  15839 AUGUSTA CORNER
                  SAN ANTONIO, TX 78247



                  PRO TECH MECHANICAL, INC.
                  1622 SARATOGA BLVD
                  COPRUS CHRISTI, TX 78417
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                  PRODIRT SERVICES LLC
                  PO BOX 1508
                  PFLUGERVILLE, TX 78691



                  PROFESSIONAL DEBT MEDIATION INC.
                  7948 BAYMEADOWS WAY, 2ND FLOOR
                  JACKSONVILLE, FL 32256-7518



                  PROTECTIVE POLYMER SOLUTIONS
                  PO BOX 17244
                  SUGARLAND, TX 77496



                  PYE-BARKER FIRE & SAFETY
                  6701 IMPERIAL DRIVE
                  WACO, TX 76712



                  QCTV CORP
                  PO BOX 691165
                  HOUSTON, TX 77269



                  QUANTA BUILDING GROUP, LLC
                  PO BOX 166858
                  IRVING, TX 75016-6858



                  QUANTA BUILDING PARTNERS, LLC
                  QUANTA BUILDING GROUP
                  201 NORTHWOOD DR.
                  APT. 2-434
                  FLOWER MOUND, TX 75022

                  R&S EXCAVATION LLC
                  PO BOX 459
                  BOERNE, TX 78006



                  R. CARSON FISK
                  ANDREWS MYERS
                  919 CONGRESS AVE. SUITE 1050
                  AUSTIN, TX 78701


                  R. HESTER CONTRACTORS, INC
                  210 TOLLE RD
                  CIBOLO, TX 78108
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                  R. WES JOHNSON
                  GARNDER LAW
                  745 EAST MULBERRY AVE., SUITE 500
                  SAN ANTONIO, TX 78212-3154


                  RAIN KING, INC
                  PO BOX 192
                  VICTORIA, TX 77902-0192



                  RAIN SEAL MASTER ROOFING & SHEET METAL,
                  2306 PORT LAVACA DR
                  VICTORIA, TX 77901



                  RANDY KACHUR
                  6649 SEACOMBER DR
                  UNIT 608
                  PORT ARANSAS, TX 78375


                  RECEIVABLES CONTROL CORP
                  7373 KIRKWOOD COURT, SUITE 200
                  MINNEAPOLIS, MN 55369



                  RED DOT BUILDING SYSTEMS
                  1209 W. CORSICANA ST.
                  ATHENS, TX 75751



                  REGIONAL STEEL PRODUCTS, INC
                  PO BOX 3887
                  VICTORIA, TX 77903-3887



                  RENKEN'S NURSERY, INC
                  2701 SALEM RD
                  VICTORIA, TX 77904



                  REPUBLIC SERVICES #847
                  PO BOX 78829
                  PHOENIX, AZ 85062-8829



                  REX ZGARBA
                  COATS ROSE
                  TERRACE2, 2700 VIA FORTUNA, SUITE 350
                  AUSTIN, TX 78746
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                  RHODES DRYWALL & PAINTING
                  1035 S. TX AVE
                  COLUMBUS, TX 78934



                  RICHARD WALLACE III, PARTNER
                  SCHEEF & STONE
                  500 NORTH AKARD, SUITE 2700
                  DALLAS, TX 75201


                  RICO, CHRISTIAN F
                  dba CR PUNCH CREW
                  2701 THOMAS AVENUE
                  PASADENA, TX 77506


                  RIDGE AV, LLC
                  715 DISCOVERY BLVD
                  STE. 502
                  CEDAR PARK, TX 78613


                  RIVER VALLEY CHRISTIAN FELLOWSHIP
                  PO BOX 629
                  CEDAR CREEK, TX 78612



                  RK WEBB, LLC
                  14493 SO. PADRE ISLAND DR
                  STE A, PMB 508
                  CORPUS CHRISTI, TX 78418


                  ROBERT ALEX BASS
                  MICHALK, BEATTY & ALCOZER LP
                  3106 SOUTH W.S. YOUNG
                  BUILDING D, SUITE 401
                  KILLEEN, TX 76542

                  ROBERT D. GOEBEL CONTRACTOR
                  dba GOEBEL WOODWORK
                  1213 MCARTHUR ST
                  CUERO, TX 77954


                  ROLLINS, JARRETT
                  dba ROLLINS RENT A FENCE
                  PO BOX 6829
                  CORPUS CHRISTI, TX 78466


                  ROYAL AIR HOUSTON
                  12519 FM 529 RD
                  HOUSTON, TX 77041
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                  RPM MANUFACTURING, LLC
                  2100 J&B DRIVE
                  SAN BENITO, TX 78586



                  RYAN C. SOLIS
                  LAW OFFICE OF RYAN C. SOLIS PLLC
                  1410 WEST DOVE AVE
                  MCALLEN, TX 78504


                  S&J FENCE CO
                  1825 NO. PADRE ISLAND DR.
                  CORPUS CHRISTI, TX 78408



                  S. ROBERT FLING
                  ATTORNEY AT LAW PLLC
                  PO BOX 411
                  KATY, TX 77492


                  SAM DRUGAN
                  WARREN, DRUGAN, & BARROWS P.C.
                  800 BROADWAY ST., SUITE 200
                  SAN ANTONIO, TX 78215-1241


                  SAN ANTONIO FLOOR FINISHERS, INC
                  214 WEST TURBO DR
                  SAN ANTONIO, TX 78216-3387



                  SANDHOP; GARLAND - CPA
                  608 N WELLS
                  EDNA, TX 77957-2719



                  SCHULENBURG GLASS COMPANY
                  409 SUMMIT
                  SCHULENBURG, TX 78956



                  SCOTT A. POWELL & CHRIS POWELL
                  dba PAGE STRIPING
                  PO BOX 4588
                  VICTORIA, TX 77903-4588


                  SCOTT ELECTRIC COMPANY
                  2001 N. PORT AVE.
                  CORPUS CHRISTI, TX 78403
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                  SEAN B. McNELIS
                  MCNEILIS & ASSOCIATES
                  143 W SUNSET ROAD, SUITE 200
                  SAN ANTONIO, TX 78209


                  SECHRIST-HALL COMPANY
                  PO BOX 2347
                  HARLINGEN, TX 78551-2347



                  SERNA, CHRISTOPHER
                  dba S&S CUSTOM CABINETS
                  1641 N. CAMP
                  SEGUIN, TX 78155


                  SHELL FLEET NAVIGATOR / WEX
                  PO BOX 70995
                  CHARLOTTE, NC 28272



                  SHELMARK ENGINEERING LLC
                  921 FM 517 ROAD EAST
                  DICKINSON, TX 77539



                  SHEPHARD OF THE HILLS
                  6914 WURZBACH RD
                  SAN ANTONIO, TX 78240



                  SHERWIN WILLIAMS #7355
                  3101 PAT BOOKER ROAD
                  UNIVERSAL CITY, TX 78148-2753



                  SHERWIN WILLIAMS #7436
                  707 E. MOCKINGBIRD LN.
                  VICTORIA, TX 77904-2144



                  SIGN INTERNATIONAL, INC
                  PO BOX 20054
                  BEAUMONT, TX 77720-0054



                  SIX FLAGS GLASS COMPANY
                  dba BS&G GLASS CO.
                  PO BOX 3462
                  VICTORIA, TX 77903-3462
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                  SKELTON ENTERPRISES, INC
                  dba SKELTON FIRE ALARM
                  12000 CROWN POINT DR., STE. 125
                  SAN ANTONIO, TX 78233


                  SLATER PAINTING COMPANY, INC.
                  PO BOX 161542
                  AUSTIN, TX 78716-1542



                  SMITH HAMILTON, LLC
                  10534 SENTINEL DRIVE
                  SAN ANTONIO, TX 78217



                  SOUTH TEXAS SCHOOL FURNITURE
                  107 NORTH MAIN ST.
                  HALLETTSVILLE, TX 77964



                  SOUTH TEXAS STEEL SERVICE CO., LLC
                  PO BOX 2208
                  VICTORIA, TX 77902-2208



                  SOUTHERN CARLSON SYSTEMS, INC
                  PO BOX 744372
                  ATLANTA, GA 30374-4372



                  SOUTHERN STAR STEEL SERVICES, LLC
                  2102 S. OLD TEMPLE RD
                  LORENA, TX 76655



                  SOUTHPOINT RENTALS, LLC
                  PO BOX 511
                  KINGSVILLE, TX 78364



                  SPECIALTY DRILLING
                  PO BOX 753185
                  HOUSTON, TX 77275-3185



                  SPECTRUM
                  PO BOX 60074
                  CITY OF INDUSTRY, CA 91716-0074
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                  SPECTRUM CORPORATION, ATTN
                  SCOREBOARD DIVISION
                  PO BOX 750456
                  HOUSTON, TX 77275-0456


                  SSC SIGNS & LIGHTING, LLC
                  2351 W. NORTHWEST HWY, #3320
                  DALLAS, TX 75220



                  STAND SURE CONSTRUCTION, LLC
                  1205 WEST AVE J
                  BELTON, TX 76513



                  STEFANIE DELEON
                  DBA ALL MIGHTY PLUMBING
                  707 W. ELM
                  EDNA, TX 77957


                  STRAIGHT LINE BUILDING SYSTEMS, INC
                  32916 FM 529
                  BROOKSHIRE TX 77423



                  SUDDENLINK BUSINESS
                  PO BOX 660365
                  DALLAS, TX 75266-0365



                  SUMMIT LOCKERS, INC.
                  138 McLEOD RD
                  COLUMBIA, SC 29203



                  SUPERIOR FENCE CO
                  dba DM3 ENTERPRISES, INC
                  139 DEWBERRY
                  VICTORIA, TX 77904


                  SUPREME CUSTOM FABRICATORS
                  SUPREME FIXTURES
                  PO BOX 193655
                  LITTLE ROCK, AR 72219


                  SUSTAINABLE SECURITY SOLUTIONS, INC
                  1107 BASSE RD
                  SAN ANTONIO, TX 78212
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                  SYNTER RESOURCE GROUP LLC
                  PO BOX 63247
                  NORTH CHARLESTON, SC 29419-3247



                  SYSTEMS 2011 HOLDING LP
                  dba SYSTEMS PAINTERS
                  PO BOX 26
                  NEW ULM, TX 78950


                  T OF V, LLC
                  dba TOYOTA OF VICTORIA
                  5902 N. NAVARRO ST
                  VICTORIA, TX 77904


                  T.H. WILLIS COMPANY INC
                  PO BOX 1330
                  LAMPASAS, TX 76550



                  TCR- THE BEST ALARM
                  1416 HOUSTON
                  LAREDO, TX 78040



                  TED HOLLEN
                  THE CASEY PROFESSIONAL BUILDING
                  20624 FM 1431, SUITE 9
                  LAGO VISTA, TX 78645


                  TENSO SHADE LLC
                  17595 W. BLANCO RD., STE. 300
                  SAN ANTONIO, TX 78232



                  TESCO INDUSTRIES, LLC
                  1035 HACIENDA ST
                  BELLVILLE, TX 77418



                  TEXAN GLASS & SOLAR CONTROL
                  24625 BUDDE RD
                  THE WOODLANDS, TX 77380



                  TEXAS CUTTING & CORING, LP
                  7705 FM 482
                  NEW BRAUNFELS, TX 78132
Case 20-60023 Document 29 Filed in TXSB on 05/07/20 Page 175 of 180


                  TEXAS FIRST RENTALS, LLC
                  PO BOX 650869
                  DALLAS, TX 75265-0869



                  TEXAS GLASS & TINTING
                  DONALD DAY, INC
                  103 E. MOCKINGBIRD LN., STE B
                  VICTORIA, TX 77904


                  TEXAS MECHANICAL INSULATION
                  10907 RED MUSKET TRAIL
                  SAN ANTONIO, TX 78245



                  TEXAS METAL TECH, INC
                  12120 BAMMEL NORTH HOUSTON RD
                  HOUSTON, TX 77066



                  TEXAS SAFFIRE, LLC
                  14014 PINEHURST LANE
                  MAGNOLIA, TX 77354



                  TEXAS SCENIC COMPANY, INC
                  PO BOX 680008
                  SAN ANTONIO, TX 78268-0008



                  TEXAS STATE PLUMBING CO
                  PO BOX 247
                  SAN MARCOS, TX 78667



                  TEXAS THRONE, LLC
                  PO BOX 997
                  PORTLAND, TX 78374



                  TEXAS TOOL & HARDWARE, INC
                  PO BOX 3465
                  VICTORIA, TX 77903-3465



                  TEXAS VA ELECTRICAL, LLC
                  217 S RIVER ST, STE M5
                  SEGUIN TX 78155
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                  THE GLASS DESIGNER FAMILY LLC
                  5600 N. SCHUERBACH RD
                  MISSION TX 78574



                  THOMAS MITCHELL WEBB
                  dba BETTER GARDENS IRRIGATION
                   502 MEAD RD
                  VICTORIA, TX 77904


                  THOMAS WALTHALL, JR
                  SANDERFORD & CARROLL, P.C
                  1100 NE LOOP 410, SUITE 550
                  SAN ANTONIO, TX 78209


                  THYSSENKRUPP ELEVATOR CORP.
                  3100 INTERSTATE N, CIRCLE SE
                  SUITE 500
                  ATLANTA, GA 30339


                  TIERRA LINDA INVESTMENTS
                  1501 E. MOCKINGBIRD LANE, STE 406
                  VICTORIA, TX 77904



                  TOMAN BROTHERS, INC
                  2307 BANDERA ROAD, STE. 104
                  SAN ANTONIO, TX 78228



                  TOMCO, INC
                  3430 COPELAND
                  SAN ANTONIO, TX 78219



                  TONNE AIR CONDITIONING & HEATING LTD
                  718 CANTWELL LANE
                  CORPUS CHRISTI, TX 78408



                  TRAVELERS CASUALTY & SURETY CO.
                  1500 Market Street
                  29th Floor West Tower (Mail Code 1166)
                  Philadelphia, PA 19102
                  Attn: Joshua M. Pantesco

                  TRAVIS CO. ESD
                  18300 PARK DRIVE
                  JONESTOWN, TX 78645
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                  TREVOR G. GREEN PLLC
                  5920 W WILLIAM CANNON DRIVE BLDG 6, SUIT
                  AUSTIN, TX 78749



                  TURNER CONSTRUCTION
                  1077 CENTRAL PARKWAY SOUTH
                  SUITE 600
                  SAN ANTONIO, TEXAS 78232


                  UNITED PARCEL SERVICE
                  PO BOX 7247-0244
                  PHILADELPHIA, PA 19170-0001



                  UNITED RENTALS (NA), INC. - RSC
                  PO BOX 840514
                  DALLAS, TX 75284-0514



                  UNITED SITE SERVICES OF TEXAS
                  PO BOX 660475
                  DALLAS, TX 75266-0475



                  URBAN SURVEYING, INC
                  2004 N. COMMERCE ST
                  VICTORIA, TX 77901-5510



                  VALLEY SO. TX. INTERIORS, INC
                  219 S. NEBRASKA
                  SAN JUAN, TX 78589



                  VANGUARD FIRE SYSTEMS, LP
                  2340 PATTERSON INDUSTRIAL DR
                  PFLUGERVILLE, TX 78660



                  VARNI ROOFING, INC
                  1448 S. STATE HWY 46
                  NEW BRAUNFELS, TX 78130



                  VAZQUEZ, VICENTE
                  dba V VAZQUEZ PAINTING
                  5963 PADRE DR
                  SAN ANTONIO, TX 78214
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                  VCS SECURITY SYSTEMS, INC
                  302 KERH BLVD
                  VICTORIA, TX 77904



                  VERASTEGUI, JUAN
                  dba JV CONTRACTING
                  2108 PLEASANT GREEN
                  VICTORIA, TX 77901


                  VICTORIA AIR CONDITIONING LTD
                  200 S. BEN JORDAN ST.
                  VICTORIA, TX 77901-8649



                  VICTORIA COMMUNICATION SERVICES, INC
                  302 KERH BLVD
                  VICTORIA, TX 77904



                  VILLA, JUAN F
                  dba VILLA'S DRYWALL
                  642 W. PYRON
                  SAN ANTONIO, TX 78221


                  VILLARREAL, MEDARDO
                  dba STI COOLING & HEATING
                  5220 N. INSPIRATION RD
                  MISSION, TX 78573


                  VILLEGAS, ISAIAS
                  dba CHALKLINE STRIPING
                  PO BOX 1712
                  PHARR, TX 78577


                  VISUAL SOLUTIONS
                  403 E. RAMSEY RD., STE. 108
                  SAN ANTONIO, TX 78216



                  W.S. STEEL ERECTION, LLC
                  PO BOX 593497
                  SAN ANTONIO, TX 78259-3497



                  WALLACE ELECTRIC SERVICES, LLC
                  PO BOX 1643
                  GONZALES, TX 78629
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                  WASTE MANAGEMENT OF TEXAS
                  PO BOX 660345
                  DALLAS, TX 75266-0345



                  WATERLOO PLASTERING INC
                  PO BOX 342252
                  AUSTIN, TX 78734



                  WESTERN STATES FIRE PROTECTION
                  141 WINDY MEADOWS DR
                  SCHERTZ, TX 78154



                  WEX BANK
                  PO BOX 4337
                  CAROL STREAM, IL 60197-4337



                  WHEELER, WILLIAM W
                  dba GW WHEELER & SONS PLUMBERS, LLC
                  504 E. SANTA ROSA
                  VICTORIA, TX 77901


                  WHISPERING CREEK VILLAS
                  5303 HAMILTON WOLFE RD.
                  SAN ANTONIO, TX 78229-4419



                  WHP TRAINING TOWERS
                  9130 FLINT ST
                  OVERLAND PARK, KS 66214



                  WILLIAM COLE LEINNEWEBER
                  dba CL CONCRETE
                  1105 QUAIL RUN
                  SAN MARCOS, TX 78666


                  WILLIAM SOMMERS
                  LANGLEY & BANACK INC
                  745 EAST MULBERRY, STE 700
                  SAN ANTONIO, TX 78212-3166


                  WILLIAMS SCOTSMAN, INC
                  PO BOX 91975
                  CHICAGO, IL 60693-1975
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                  WORKPLACE RESOURCE, LLC
                  4400 NE LOOP 410, STE. 130
                  SAN ANTONIO, TX 78218



                  WORLDWIDE PEST CONTROL, INC
                  5808 IH 10 W
                  SAN ANTONIO, TX 78210



                  YORK METAL FABRICATORS, INC
                  PO BOX 18149
                  OKLAHOMA CITY, OK 73154-8149



                  Z FLOOR CO., LTD
                  350 BETCHAN AVE
                  LAKE DALLAS, TX 75065



                  ZARSKY LUMBER COMPANY, INC
                  PO BOX 2527
                  VICTORIA, TX 77902-2527
